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APPENDIX R
FINAL PUBLIC INVOLVEMENT AND AGENCY
COORDINATION TECHNICAL REPORT

June 2022
U.S. Department
of Transportation MM COT. Maryann DEPARTMENT OF TRANSPORTATION
Federal Highway STATE HIGHWAY ADMINISTRATION

Administration

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1 INTRODUCTION

1.1 Overview

The Federal Highway Administration (FHWA), as the Lead Federal Agency, and the Maryland Department
of Transportation State Highway Administration (MDOT SHA), as the Local Project Sponsor, are preparing
a Final Environmental Impact Statement (FEIS) in accordance with the National Environmental Policy Act
(NEPA) for the 1-495 & |-270 Managed Lanes Study (Study). The I-495 & I-270 Managed Lanes Study
(Study) is the first environmental study under the broader 1-495 & |-270 Public-Private Partnership (P3)
Program.

This Final Public Involvement and Agency Coordination Technical Report has been prepared to support
the FEIS and focuses on the analysis of the Preferred Alternative. The Preferred Alternative, also referred
to as Alternative 9 — Phase 1 South, includes building a new American Legion Bridge and delivering two
high-occupancy toll (HOT) managed lanes in each direction on 1-495 from the George Washington
Memorial Parkway in Virginia to east of MD 187 on I-495, and on |-270 from I-495 to north of I-370 and
on the I-270 eastern spur from east of MD 187 to |-270. Refer to Figure 1-1. This Preferred Alternative was
identified after extensive coordination with agencies, the public and stakeholders to respond directly to
feedback received on the DEIS to avoid displacements and impacts to significant environmental resources,
and to align the NEPA approval with the planned project phased delivery and permitting approach.

The purpose of the Final Public Involvement and Agency Coordination Technical Report is to provide an
overview of the public involvement efforts and agency coordination conducted during the NEPA process
since the publication of the DEIS on July 10, 2020. This Final Public Involvement and Agency Coordination
Technical Report builds upon the analysis in the Draft Public Involvement and Agency Coordination
Technical Report, DEIS and Supplemental DEIS (SDEIS), and has been prepared to support and inform the
FEIS.

1.2 Study Corridors and the Preferred Alternative

In the SDEIS, published on October 1, 2021, FHWA and MDOT SHA identified the Preferred Alternative:
Alternative 9 — Phase 1 South to be consistent with the previously determined phased delivery and
permitting approach, which focuses on Phase 1 South. As a result, Alternative 9 — Phase 1 South includes
the same improvements proposed as part of Alternative 9 in the DEIS but focuses the build improvements
within the Phase 1 South limits only. The limits of Phase 1 South are along I-495 from the George
Washington Memorial Parkway to west of MD 187 and along |-270 from 1-495 to north of I-370 and on
the |-270 east and west spurs as shown in dark blue in Figure 1-1. The improvements include two new
HOT managed lanes in each direction along |-495 and |-270 within the Phase 1 South limits. There is no
action, or no improvements included at this time on I-495 east of the I-270 east spur to MD 5 (shown in
light blue in Figure 1-1). While the Preferred Alternative does not include improvements to the remaining
parts of I-495 within the Study limits, improvements on the remainder of the interstate system may still
be needed in the future. Any such improvements would advance separately and would be subject to
additional environmental studies and analysis and collaboration with the public, stakeholders and
agencies.

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The 48-mile corridor Study limits remain unchanged: |-495 from south of the George Washington
Memorial Parkway in Fairfax County, Virginia, to west of MD 5 and along |-270 from I-495 to north of I-
370, including the east and west |-270 spurs in Montgomery and Prince George’s Counties, Maryland
(shown in both dark and light blue in Figure 1-1).

Figure 1-1: I-495 & I-270 Managed Lanes Study Corridors — Preferred Alternative

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by Rockville

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WOM Me)

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\ Silver Spring

Bethesda

Arlington” }

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Upper
Marlboro

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1.3. Description of the Preferred Alternative

The Preferred Alternative includes a two-lane HOT managed lanes network on I-495 and I-270 within the
limits of Phase 1 South only (Figure 1-2). On |-495, the Preferred Alternative consists of adding two, new
HOT managed lanes in each direction from the George Washington Memorial Parkway to west of MD 187.
On I-270, the Preferred Alternative consists of converting the one existing HOV lane in each direction to a
HOT managed lane and adding one new HOT managed lane in each direction on |-270 from I-495 to north
of 1-370 and on the I|-270 east and west spurs. There is no action, or no improvements included at this
time on |-495 east of the |-270 east spur to MD 5. Along 1-270, the existing collector-distributor (C-D) lanes
from Montrose Road to I-370 would be removed as part of the proposed improvements. The managed
lanes would be separated from the general purpose lanes using pylons placed within a four-foot wide
buffer. Transit buses and HOV 3+ vehicles would be permitted to use the managed lanes toll-free.

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Figure 1-2: Preferred Alternative Typical Sections (HOT Managed lanes Shown in Yellow)
|-495 from the George Washington Memorial Parkway to west of MD 187

|-495: American Legion Bridge (Looking north towards Maryland) Exit and entrance lanes provide access to ]

the High-Occupancy Toll Lanes from the
@ © George Washington Memorial Parkway

Location for shared-use path on ALB

1-495 west of MD 187 to west of MD 5 - NO ACTION AT THIS TIME

1-270 from 1-495 to |-370

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2 PUBLIC INVOLVEMENT

A comprehensive public involvement and agency coordination program has been conducted throughout
the I-495 & I-270 Managed Lanes Study (Study). This chapter summarizes the outreach and engagement
that has occurred since publication of the Draft Environmental Impact Statement (DEIS) on July 10, 2020.

2.1. DEIS Notice of Availability and Comment Period

The DEIS was published on July 10, 2020 and was made available on the |-495 & |-270 P3 Program webpage
(https://495-270-p3.com/deis/) and on the US Environmental Protection Agency (EPA) EIS Database
webpage. The DEIS comment period was 120-days, from July 10, 2020 to November 9, 2020.

Opportunities to comment on the DEIS were provided by the following ways:

Oral testimony at one of the Public Hearings in the main hearing room

Oral testimony to a court reporter at a Public Hearing in private in a separate room

DEIS comment form at https://495-270-p3.com/DEIS/

Email to MLS-NEPA-P3@mdot.maryland.gov

Written comments on a comment form at a Public Hearing

Letters to Lisa B. Choplin, DBIA, I-495 & I-270 P3 Program Director, |-495 & I-270 P3 Office, 707
North Calvert Street, Mail Stop P-601, Baltimore MD 21202

Four virtual or online hearings were held during the DEIS Comment Period on the following days:

e Tuesday, August 18, 2020
e Thursday, August 20, 2020
e Tuesday, August 25, 2020
e Thursday, September 3, 2020
Two in-person hearings were held during the DEIS Comment Period on:

e Tuesday, September 1, 2020
e Thursday, September 10, 2020

To provide persons without electronic access to view the DEIS in hard copy, MDOT SHA and FHWA
employed innovative approaches due to widespread closures of many public facilities, including libraries,
caused by the global, 2020 COVID-19 pandemic. Due to these closures of public facilities, temporary
facilities to house the DEIS for public review were provided at eight community-based public library
parking lot locations along the study corridors, as well as one location in Washington, D.C. Lobbies at six
centrally-located post offices in Montgomery and Prince George’s Counties were also used for DEIS
viewing locations. Locations were available during the week and weekend days, with day and evening
hours to provide adequate options for the public to view the documents. Lastly, six select MDOT SHA,
Maryland Transportation Authority (MDTA), and Virginia Department of Transportation (VDOT) offices
within or near the study area were also open to the public for viewing of the DEIS and Technical Reports.
Each DEIS viewing location was compliant with the Americans with Disabilities Act (ADA) and equipped
with required Personal Protective Equipment (PPE), including masks, hand sanitizers, and antibacterial
cleaning solution. A strict safety protocol, in compliance with the State-mandated COVID-19 guidelines,
was followed to ensure the safety of the public and MDOT SHA staff. Refer to Table 7-1 in SDEIS Chapter
7 for a full list of the DEIS viewing locations.

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The extensive and innovative efforts to provide opportunity for public comment on the DEIS was
unprecedented in Maryland. MDOT SHA and FHWA successfully held four virtual public hearings, each
lasting nine hours, to maximize the opportunity for participation throughout the day. The virtual public
hearings were held on the following dates from 9 AM to 8 PM (including two short breaks):

e Tuesday, August 18, 2020;

e Thursday, August 20, 2020;

e Tuesday, August 25, 2020; and
e Thursday, September 3, 2020.

Approximately 400 people participated in the virtual public hearings.

Two, in-person public hearings were also held in early September 2020, each lasting nine hours, in full
compliance with State-mandated COVID-19 guidelines to keep both the public and staff safe. In-person
hearings included a live presentation repeated at the beginning of the morning, afternoon, and evening
sessions. The in-person public hearings were held on the following dates from 12 PM to 9 PM (including
one short break):

e Tuesday, September 1, 2020, at Homewood Suites by Hilton (9103 Basil Court, Largo, MD
20774); and

e Thursday, September 10, 2020, at Hilton Executive Meeting Center (1750 Rockville Pike
Rockville, MD 20852).

A total of 22 people attended the in-person public hearings.

Each virtual and in-person hearing could be listened to live via phone to accommodate persons without
access to a computer. The public and elected officials could register to provide verbal testimony during
both the virtual and in-person hearings and had the option to provide voicemail testimony during any of
the six public hearings. The virtual hearings held were live-streamed on YouTube with automatic closed
captioning. For full transparency, the recorded testimony was transcribed and posted on the I-495 & I-
270 P3 Program webpage (https://495-270-p3.com/your-participation/past-public-outreach/) along with
the in-person public hearing testimony transcripts. Plain-text versions of the presentation script and

display boards were also uploaded to the program website so that website visitors may use Google
translate and/or text-to-voice programs for the visually impaired.

The MDOT SHA and FHWA granted a 30-day extension of the public comment period for the DEIS. A 90-
day comment period was originally provided on the DEIS, twice the minimum time required by FHWA.
Based on input from the public, community partners, stakeholders and local and federal officials, MDOT
SHA supported extending the comment period to 120 days and made a formal request to FHWA, which
has authority to grant any extension. FHWA approved the request, and comments on the DEIS were
accepted until November 9, 2020.

Refer to Appendix A of this technical report for outreach materials from the DEIS public comment period.
For a summary of comments received on the DEIS and responses to common themes, refer to FEIS,
Chapter 9. Transcripts of oral testimony received for the DEIS are included in FEIS, Appendix T.

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2.2. SDEIS Notice of Availability and Comment Period

The SDEIS was published on October 1, 2021 and was made available on the 1-495 & I-270 P3 Program
webpage (https://oplanesmd.com/sdeis/), EPA EIS Database webpage, as well as 18 public libraries in
Montgomery, Prince George’s, and Fairfax Counties and Washington DC (refer to Table 2-1). MDOT SHA
and FHWA granted a 15-day extension of the public comment period for the SDEIS, which lasted 60 days
from October 1, 2021 to November 30, 2021.

Opportunities to comment on the SDEIS were provided by the following ways:

¢ Oral testimony at the Virtual Public Hearing, on November 1, 2021

e SDEIS comment form at oplanesmd.com/SDEIS

e Email to MLS-NEPA-P3@mdot.maryland.gov

e Letters to Jeff Folden, |-495 & I-270 P3 Program Deputy Director, |-495 & |-270 P3 Office, 707
North Calvert Street, Mail Stop P-601, Baltimore MD 21202

e Call-in a comment at 855-432-1483 and leave a voicemail that is limited to three minutes

The SDEIS Virtual Public Hearing was held on November 1, 2021 with two sessions to provide the public
an opportunity to provide live oral testimony on the SDEIS. Session 1 was from 2 PM to 4 PM and Session
2 was from 6 PM to 8 PM. Individuals were required to register in advance to be admitted to the phone
queue for comment. Members of the public were allotted three minutes and elected officials were
allotted five minutes, per person, for verbal testimony. Responses to questions were not given at the
hearing; responses to comments are provided in this FEIS. A total of 35 people attended the virtual public
hearing.

In addition to verbal public testimony, stakeholders were able to provide one-on-one testimony during
the call-in hearing sessions by calling and leaving a single voicemail message limited to three minutes. The
public could listen live to the hearing sessions via telephone or via livestream at oplanesmd.com/SDEIS.
For full transparency, the recorded testimony was posted on the 1-495 & I-270 P3 Program webpage
(https://oplanesmd.com/your-participation/past-public-outreach/) along with the virtual public hearing
testimony transcripts. Plain-text versions of the presentation script and display boards were also uploaded
to the program website so that website visitors may use Google translate and/or text-to-voice programs
for the visually impaired.

To provide persons without electronic access to view the SDEIS in hard copy, MDOT SHA and FHWA
provided 18 SDEIS viewing locations. These locations and hours when the location was open for viewing
the documentation are included in Table 2-1.

Table 2-1: SDEIS Viewing Locations

COUNTY LOCATION VIEWING TIMES
1 | Montgomery GAITHERSBURG LIBRARY Mon, Wed, Fri & Sat: 10 AM - 6 PM
18330 Montgomery Village Ave Tue & Thu: 12-8 PM
Gaithersburg, MD 20879
2 | Montgomery QUINCE ORCHARD LIBRARY Mon, Wed, Fri & Sat: 10 AM-6 PM
15831 Quince Orchard Rd Tue & Thu: 12-8 PM
Gaithersburg, MD 20878
3 | Montgomery ROCKVILLE MEMORIAL LIBRARY* Mon, Wed, Fri & Sat: 10 AM - 6 PM
21 Maryland Ave Tue & Thu: 12-8 PM
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4319 Sellman Rd
Beltsville, MD 20705

COUNTY LOCATION VIEWING TIMES

Rockville, MD 20850

4 | Montgomery POTOMAC LIBRARY Mon, Wed, Fri & Sat: 10 AM-6 PM
10101 Glenolden Dr Tue & Thu: 12-8 PM
Potomac, MD 20854

5 Montgomery DAVIS LIBRARY Mon, Wed, Fri & Sat: 10 AM- 6 PM
6400 Democracy Blvd Tue & Thu: 12-8 PM
Bethesda, MD 20817

6 Montgomery KENSINGTON PARK LIBRARY Mon, Wed, Fri & Sat: 10 AM- 6 PM
4201 Knowles Ave Tue & Thu: 12-8 PM
Kensington, MD 20895

7 Montgomery CHEVY CHASE LIBRARY Mon, Wed, Fri & Sat: 10 AM-6 PM
8005 Connecticut Ave Tue & Thu: 12-8 PM
Chevy Chase, MD 20815

8 Montgomery SILVER SPRING LIBRARY Mon, Wed, Fri & Sat: 10 AM -6 PM
900 Wayne Ave Tue & Thu: 12-8 PM
Silver Spring, MD 20910

9 | Montgomery WHITE OAK LIBRARY Mon, Wed, Fri & Sat: 10 AM- 6 PM
11701 New Hampshire Ave Tue & Thu: 12-8 PM
Silver Spring, MD 20904

10 | Prince George’s BELTSVILLE LIBRARY Mon, Tue, Thu, & Fri: 10 AM - 6 PM

Wed: 12-8 PM
Sat: 10 AM -5 PM

7420 Georgia Ave NW
Washington, DC 20012

11 | Prince George’s GREENBELT LIBRARY* Mon, Tue, Thu, & Fri: 10 AM - 6 PM
11 Crescent Rd Wed: 12-8 PM
Greenbelt, MD 20770 Sat: 10 AM-5PM

12 | Prince George’s NEW CARROLLTON LIBRARY Mon, Tue, Thu, & Fri: 10 AM - 6 PM
7414 Riverdale Rd Wed: 12-8 PM
New Carrollton, MD 20784 Sat: 1OAM-5PM

13 | Prince George’s GLENARDEN LIBRARY Mon, Tue, Thu, & Fri: 10 AM - 6 PM
8724 Glenarden Pkwy Wed: 12-8 PM
Glenarden, MD 20706 Sat: 1OAM-5PM

14 | Prince George’s LARGO-KETTERING LIBRARY Mon, Tue, Thu, & Fri: 10 AM - 6 PM
9601 Capital Ln Wed: 12-8 PM
Upper Marlboro, MD 20772 Sat: 1OAM-5PM

15 | Prince George’s SPAULDINGS LIBRARY Mon, Tue, Thu, & Fri: 10 AM - 6 PM
5811 Old Silver Hill Rd Wed: 12-8 PM
District Heights, MD 20747 Sat: 1OAM-5PM

16 | Prince George’s OXON HILL LIBRARY Mon, Tue, Thu, & Fri: 10 AM - 6 PM
6200 Oxon Hill Rd Wed: 12-8 PM
Oxon Hill, MD 20745 Sat: 10 AM -5 PM

17 ‘| Fairfax DOLLY MADISON LIBRARY Mon & Tue: 10 AM—9 PM
1244 Oak Ridge Ave Wed, Thu, Fri & Sat: 10 AM-—6 PM
McLean, VA 22101

18 | Washington DC SHEPHERD PARK LIBRARY Mon, Tue, Wed, Fri & Sat: 10 AM - 6

PM

Thu: 12-8 PM

*The Rockville and Greenbelt libraries had hard copies of the SDEIS and Technical Reports available. All other libraries had the
technical reports on USB flash drives

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Refer to Appendix B of this technical report for outreach materials from the SDEIS public comment period.
For a summary of comments received on the SDEIS and responses to common themes, refer to FEIS,
Chapter 9. Transcripts of oral testimony received for the SDEIS are included in FEIS, Appendix T.

2.3. Other Community Meetings and Stakeholder Outreach Events

Engagement with communities, stakeholders and elected officials continued to occur after the DEIS was
published in July 2020 (Table 2-2). All meetings except for one were held virtually due to the COVID-19
Pandemic. The focus of this engagement was to better understand comments received on the DEIS,
provide Study related updates, and seek feedback on a host of topics including effects of COVID-19 on
traffic, transit opportunities, alternatives design, managed lanes access, bicycle and pedestrian
improvements, economic benefits and environmental concerns. MDOT SHA continued engaging with
stakeholder working groups that were either initiated before the DEIS or developed after including the
Transit Working Group, Regional Economic Working Group, and Environmental Justice Working Group, as
discussed above. In February 2021, MDOT SHA reinitiated meetings, held virtually, with several
Homeowners’ Associations (HOAs) and Community Associations. Active engagement with stakeholders,
communities, and elected official will continue to occur as the Study progresses. On April 6, 2021, an e-
mail blast was sent to more than 600 e-mail addresses compiled from the Montgomery County Mailing
List Generator for Homeowners Associations, Citizens and Civic Associations. HOA and CA leaders along
the project corridor were invited to schedule a project briefing by the project team for their community.
Ten groups responded, seven briefings were scheduled and held, and three briefings are planned for later
in the year. In addition, MDOT SHA has held over 40 meetings with elected officials.

Table 2-2: Stakeholder and Community Meetings

DATE ORGANIZATION

July 9, 2020 Northern Virginia Transportation Alliance

July 20, 2020 Montgomery County Council Transportation & Environment Committee Briefing
July 21, 2020 Greater Washington Partnership

September 3, 2020

Stakeholder Group Briefing (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

September 14, 2020

Montgomery County Department of Transportation

September 15, 2020

Prince George’s County Department of Public Works and Transportation

September 22, 2020

Prince George’s County Council Briefing

October 5, 2020

Virginia Department of Transportation 495 NEXT Project Public Hearing

October 6, 2020

Frederick County Department of Transportation

October 8, 2020

Virginia Department of Transportation 495 NEXT Project Public Hearing (in-person)

October 26, 2020

Montgomery County Council Transportation and Environment Committee

November 6, 2020

Disadvantaged Business Enterprise Opportunity MDOT Networking Event

November 10, 2020

Northern Virginia Transportation Alliance “What You Need to Know About
Transportation” Seminar

November 16, 2020

Upcounty Citizens Advisory Board Land Use Committee

November 18, 2020

Greater Washington Partnership Capital Region Transportation Forum

November 20, 2020

Frederick County Department of Transportation

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DATE ORGANIZATION

November 20, 2020 | Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

December 1, 2020 Great Seneca Science Corridor IAC
December 4, 2020 Maryland Transportation Builders and Materials Association Together for Transportation
Coalition

December 9, 2020 Montgomery County Business Roundtable

December 18, 2020 | Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

January 15, 2021 Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

January 19, 2021 Northern Virginia Transportation Alliance/Suburban Maryland Transportation Alliance
Joint Briefing

January 19, 2021 MDOT Office of Small Business Policy Small Business Enterprise Outreach Event

January 26, 2021 Transit Work Group

February 3, 2021 Regional Economic Work Group

February 4, 2021 Laborers International Union of North America

February 8, 2021 Montgomery County Economic Development Corporation

February 10, 2021 Leadership Montgomery

February 12, 2021 Asian American Chamber of Commerce

February 19, 2021 Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern
Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

February 19, 2021 Montgomery County Department of Transportation Office of Small and Minority SBE
Outreach

February 24, 2021 Regency Estates Civic Association

February 24, 2021 Conference of Minority Transportation Officials

February 25, 2021 Lantian Development

March 1, 2021 Washington Biologists’ Field Club (WBFC)

March 12, 2021 ASHE Potomac Chapter

March 19, 2021 Hispanic Chamber of Commerce of Montgomery County

March 30, 2021 Peterson Companies

March 31, 2021 Regional Economic Work Group

April 14, 2021 Frederick County Chamber Transportation Advisory Committee

April 16, 2021 Stakeholder Group Update (Suburban Maryland Transportation Alliance, Northern

Virginia Transportation Alliance, AAA Mid-Atlantic, Chambers of Commerce, Greater
Washington Board of Trade, Maryland Transportation Builders and Materials
Association)

April 20, 2021 Montgomery County Civic Federation

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DATE

ORGANIZATION

April 26, 2021

ITE Annual Meeting

April 29, 2021

George Mason University P3 Panel

April 30, 2021 Rubenstein Partners

May 6, 2021 Opportunity MDOT Stakeholders Meeting

May 11, 2021 Avonglen HOA

May 20, 2021 Rosemont Citizens Association

May 25, 2021 Maplewood Park HOA

May 26, 2021 Regional Economic Work Group Steering Committee

June 2, 2021 North Potomac Citizens Association

June 2, 2021 Friends of Moses Hall Cemetery and First Agape AME Zion Church Stakeholder Group
June 8, 2021 Luxmanor Citizens Association

June 10, 2021

Joint Briefing for Budget Committee Staff

June 11, 2021

Leadership Montgomery

June 15, 2021

Rock Creek Conservancy Advocacy Committee

June 24, 2021 Regional Economic Work Group
July 22, 2021 Hispanic Chamber of Commerce of Montgomery County
August 3, 2021 Frederick County Department of Transportation

August 13, 2021

Frederick Keys Baseball Game (Pop-up Event with informational booth)

August 18, 2021

Shady Grove Farmers Market (Pop-up Event with informational booth)

August 28, 2021

Derwood Farmers Market (Pop-up Event with informational booth)

September 4, 2021

Rockville Arts Festival (Pop-up Event with informational booth)

November 29, 2021

Washington Biologists’ Field Club

December 20, 2021

Upcounty Citizens Advisory Board

January 12, 2022

Patuxent River Commission

January 18, 2022

Bicycle / Pedestrian Crossing Discussion to the Transportation Planning Board

January 19, 2022

American Society of Civil Engineers (ASCE) Catoctin Branch

February 8, 2022

McLean Citizen’s Association- Transportation Subcommittee

March 24, 2022

Washington Biologist Field Club

Note: All meetings held virtually unless otherwise denoted.

3 DEMONSTRATED ENGAGEMENT OF ENVIRONMENTAL JUSTICE
POPULATIONS

An Environmental Justice (EJ) population is a population concentration of minority race and ethnicity
individuals and/or low-income households that meets federal definitions. As documented in the EJ
Analysis in Chapter 5, Section 21 of the FEIS, EJ populations have been identified along the study corridors
and are shown in Figure 3-1.

Providing full and fair access to meaningful involvement by low-income and minority populations in
project planning and development is an important aspect of EJ. Meaningful involvement means the lead
agencies invites participation from populations typically underrepresented, throughout all the project
stages. Due to the highly diverse demographics composing the population adjacent to and using the study
corridors, much of the corridor-wide public involvement efforts conducted for the Study were aimed at

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reaching this socioeconomically diverse audience. This chapter highlights the public involvement efforts
conducted in or near EJ populations, as well as additional efforts to notify traditionally underserved

populations.

Figure 3-1: EJ Populations along the Study Corridors

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Legend

ia Limit of Disturbance

| State Boundary
EJ Analysis Area

Envii ital Justice P

SS Minority Populations
[3] Low-Income Popluations

Cy No Minority & Low Income Populations eS Both Minority & Low Income Populations

Environmental
Justice Populations

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3.1 Publication of DEIS, Public Hearings, and Associated Comment Period

In addition to standard public notifications of the availability of the DEIS and notification of the Public
Hearings and associated comment period, MDOT SHA implemented additional notification methods to
encourage meaningful involvement by low-income and minority race/ethnicity populations, as well as
other traditionally marginalized populations in review of the DEIS and participation in the Public Hearings.
These efforts include the following:

e Mailed flyers in English, Spanish, Amharic, and French’ flyers to approximately 200 affordable
housing complexes, schools, and places of worship? in the study area. Emailed PDFs of these
flyers to the organizations that have email addresses listed online. A cover letter was sent with
both forms of distribution.

e Uploaded to the project website the DEIS Executive Summary translated into Spanish, Amharic,
and French.

e Provided hard copies of the translated DEIS Executive Summary at the DEIS viewing locations.

e Spanish language advertisements in F/ Tiempo Latino, Washington Hispanic, and on
eltiempo.com.

e Additional County outreach:

o Montgomery County News press release;
Inclusion in Montgomery County Executive’s weekly newsletter;
o Inclusion in Montgomery County Department of Transportation bi-weekly newsletter and
social media posts;
o Distribution of flyer via Maryland-National Capital Park and Planning Commission (M-
NCPPC) Prince George’s County Planning email databases;
* Planning Department listserv with approximately 19,200 email addresses;
=" Community Association listserv with approximately 700 email addresses;

©. Inclusion in Prince George’s County social media posts; and
© Coordination with Prince George’s County Faith-Based Advisory Board to distribute
information to their ministry listserv with approximately 70 email addresses.

e Additional translation of flyer to Simplified Chinese, Korean, Malayalam, Punjabi, Tagalog, and
Yoruba, uploaded to the project website, and distribution of hard copies to groceries largely
serving immigrant communities.

ALDI (Beltsville, Lanham)

Anarkali Bazar (Greenbelt)

Giant Food (Greenbelt, Largo, Marlow Heights)
Global International Grocery (Silver Spring)
Great Wall Supermarket (Rockville)

oo 00 06

1 Spanish, French, and Amharic are the top primary languages of English for Speakers of Other Languages (ESOL)
learners in both counties.

? Includes Environmental Justice (EJ)- area schools with above-average participation in the Free and Reduced-price
Meals Program; places of worship in EJ areas; and all affordable-housing complexes within the study area.

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Jumbo Food International Supermarket (Temple Hills)

La Colonia International Supermarket (Camp Springs)

Las Americas Market (Rockville)

Latino Market Grocery (Gaithersburg)

Lidl (District Heights)

Periyar Asian Grocery (Landover Hills)

Safeway (Greenbelt)

Save A Lot (Forestville)

Shoppers (College Park, Forestville, Largo, New Carrollton)

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Refer to Appendix G of the Final Community Effects Assessment and Environmental Justice Technical
Report (FEIS, Appendix F) for EJ outreach materials used for the notification and public comment period
associated with the DEIS.

3.2. Publication of SDEIS, Public Hearings, and Associated Comment Period

Environmental Justice outreach efforts for publication of the SDEIS and notification of the Public Hearing
and comment period were similar to the DEIS outreach efforts and included the following:

e Newspaper print advertisements in E/ Tiempo Latino and Washington Hispanic and digital
advertisements in Afro.com and Eltiempo.com. Programmatic digital banner ads were placed
across the digital exchange display network targeting African American or Hispanic, Adults 18
years or older. Ads were also geotargeted and geofenced across zip codes and behavioral data
based on living near or usage of I-270 and/or |-495.*

e Developed a flyer to outreach to EJ populations that featured an emphasis on SDEIS availability,
ways to comment, and the announcement of Virtual Public Hearings; the flyer included a QR code
to link to SDEIS availability on the project website. The flyer was translated into in Spanish,
Amharic, French, Chinese, and Korean based on the top languages spoken by LEP populations in
Montgomery County as identified in the 2020 Montgomery County Department of Transportation
Language Assistance Plan.

e Mailed flyer to approximately 200 affordable housing complexes, schools, and places of worship
along the study corridors. PDFs of these flyers were emailed to the organizations that have email
addresses listed online. A cover letter was sent with both forms of distribution.

e Mailed flyers to county advisory boards and community groups who serve minority race and
ethnicity and other traditionally marginalized populations. PDFs of these flyers were emailed to
the organizations that have email addresses listed online. A cover letter was sent with both forms
of distribution.

3 Online digital advertisements were run through the Exchange Display Network, which specializes in digital buys with geographic
and demographic programmatic targeting. Digital advertisements targeted African Americans or Hispanic adults using geofencing
and behavioral data. The target area was in zip codes which index the highest to target a specified audience segment; and
behavioral data indicating the likelihood for that adult to own a home and commute over 20 miles daily using |-270 or 1-495. Of
the total 5 million-plus potential impressions, 20 percent, or 1.2 million impressions, targeted this demographic.

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I
o Montgomery County

* Faith Community Advisory Council

* Gilchrest Immigrant Resource Center

" Department of Housing and Community Affairs

" Community Reach, Commission on People with Disabilities

= Health and Human Services Latino Health Initiative

« Literacy Council

" DOT Division of Transit Services

*" Health and Human Services Office of Community Affairs

" Office of Community Partnerships

= Sidney Kramer Upcountry Regional Services Center

= Health and Human Services Asian American Health Initiative

" Office of Community Relations

" Department of Social Services Internal and External Affairs
o Prince George's Housing Authority
o Prince George's Community Outreach Promoting Empowerment Section (COPE)
o Literacy Council of Prince George's County
o Prince George's Aging and Disabilities Services Division

e Distributed hard copies of the translated flyer to groceries largely serving immigrant communities
and libraries in Montgomery, Prince George’s, and Frederick Counties.*

Admas International Market (Hyattsville)
ALDI (Beltsville and Lanham)

Anarkali Bazar (Greenbelt)

Asian Super Market (Frederick)

Brunswick Branch Library (Brunswick)

C. Burr Artz Public Library (Frederick)
Chevy Chase Library (Chevy Chase)

Davis (North Bethesda) Library (Bethesda)

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“ Attempts to drop off flyers were made at the listed specialty markets and grocery stores. Note that several locations
were either closed or did not accept the flyers for posting or distribution.

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Ebenezer International Market (Frederick)

Edward Fry Memorial Library at Point of Rocks

El Eden International Market 2 (Frederick)

Favor International Food (Silver Spring)

Frederick Bazaar-Indian-Pak Grocery Store (Frederick)

Giant Food (Greenbelt, Lanham, Upper Marlboro, and Marlow Heights)
Glenarden Branch Library, PGCMLS (Glendarden)

Global International Grocery (Silver Spring)

Great Wall Supermarket (Rockville)

Halal Market (Frederick)

Hampton Park Post Office (Capitol Heights)

Jumbo Food International Supermarket (Temple Hills)
Kenilworth Post Office (Riverdale Park)

Kensington Park Branch(Kensington)

La Chiquita Grocery (Frederick)

La Colonia International Supermarket (Camp Springs)

Lagos Market International (Forestville/District Heights)

Largo Post Office (Upper Marlboro)

Largo-Kettering Branch Library, PGCMLS (Largo/Upper Marlboro)
Las Americas Market (Rockville)

Latino Market Grocery Inc (Gaithersburg)

Lidl (District Heights)

Megamart Gaithersburg (Gaithersburg)

Mercado Latino (Beltsville)

Mi Pueblo International Market (Frederick)

Middletown Public Town (Middletown)

Myersville Community Library (Myersville)

New Carrollton Branch Library, PGCMLS (New Carrollton/Hyattsville)
Orange Latin Market, Colombian & South American products (Gaithersburg)
Periyar Asian Grocery (Landover Hills)

Potomac Branch (Potomac)

Rockville Post Office (Rockville)

Safeway (Greenbelt)

Savanna International Market Inc (Gaithersburg)

Save A Lot (Forestville)

Shoppers (Bowie, College Park, New Carrolton, Forestville, Largo/Upper Marlboro)
Spauldings Branch Library (District Heights)

Temple Hills Post Office (Temple Hills)

Urbana Regional Library (Frederick/Urbana)

Walkersville Public Library (Walkersville)

Wegmans (Lanham)

West Lake Post Office (Bethesda)

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e Contact was made to distribute flyers via Maryland-National Capital Park and Planning
Commission (M-NCPPC) Prince George’s County Planning email databases.

e Spanish radio ads were run two weeks prior to the hearing on WLZL-FM, a Spanish language
station that broadcasts to the Washington-Baltimore metropolitan area. The spots were thirty
seconds long and aired during commercial breaks. The radio spot emphasized the virtual public
hearing and project website.

Additionally, translated versions of the SDEIS Executive Summary were posted to the project website, and
all SDEIS documents were made Section 508-compliant on the project website. Plain-text versions of the
hearing presentation script and display boards were also uploaded to the program website so that website
visitors may use Google translate.

Refer to Appendix G of the Final Community Effects Assessment and Environmental Justice Technical
Report (FEIS, Appendix F) for EJ outreach materials used for the notification and public comment period
associated with the SDEIS.

3.3. Environmental Justice Working Group

In response to comments from the US EPA on the DEIS, a Working Group was established in Spring 2021
to support the Environmental Justice analysis and outreach efforts to be conducted for the Study moving
forward. Agency members include FHWA, US EPA, MDOT SHA, Maryland Department of Planning (MDP),
Montgomery County Department of Transportation (MCDOT), Maryland-National Capital Park and
Planning Commission (M-NCPPC), and Prince George’s County Department of Public Works and
Transportation (DPW&T). The goals of the EJ Working Group are to:

e Develop potential mitigation measures should high and adverse disproportionate impacts occur
and identify additional outreach opportunities using federal, state, and local experience;

e Identify potential commitments to EJ/public health community enhancement measures related
to social/health vulnerability indicators; and

e Identify recommendations for additional engagement opportunities including FEIS notifications
and post-NEPA outreach to communities.

EJ Working Group meetings have occurred on the dates listed in Table 3-1.

Table 3-1: Environmental Justice Working Group Meetings and Coordination

DATE AGENDA ITEMS
March 2, 2021 Kick-off Meeting; introductions, goals

Data collection to support existing conditions discussion in EJ Analysis;
April 7, 2021 Discussion on EJ Public Outreach Plan and future opportunities; community

enhancement considerations

Review of draft EJ Public Outreach Plan: SDEIS/FEIS/ROD and future
September 15, 2021 | opportunities in consideration of the Preferred Alternative; community
enhancement considerations

November 9, 2021 Final EJ Outreach and Engagement Plan

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Additional detail on the EJ Working Group is provided in Chapter 5, Section 5.5 of the Final Community
Effects Assessment and Environmental Justice Analysis Technical Report in FEIS, Appendix F.

3.4 Environmental Justice Engagement Initiatives

Based on the results of the local, state and regional coordination conducted as part of the EJWG’s EJ Public
Outreach Plan, MDOT SHA implemented additional public-facing EJ outreach efforts to engage
meaningfully and directly with underserved communities and identify strategies to minimize impacts and
to identify community enhancements that could potentially be incorporated into the project.

Due to the large study area, MDOT SHA developed an online survey to seek feedback from EJ and other
underserved populations on existing community concerns and strategies that could be implemented to
address those concerns. The survey was distributed in a variety of ways including through multiple
community “pop up” events hosted by MDOT SHA at local specialty markets in areas noted as having high
percentages of low-income and/or minority populations. These community events allowed for
meaningful, direct face-to-face engagement. Community members were able to complete the survey on
iPads and ask questions of the staff. Multi-lingual staff were present at each pop-up event. Pop-up events
were held at the following locations in November 2021:

e Great Wall Supermarket (Pop-up Event with informational booth)

e Lotte Plaza Market (Pop-up Event with informational booth)

e Megamart (Pop-up Event with informational booth)

@ H Mart (Pop-up Event with informational booth)

e Adarash Market (Pop-up Event with informational booth)

e Lotte Plaza Market (Pop-up Event with informational booth)

e Patel Brothers Farms Market (Pop-up Event with informational booth)

The survey was open for approximately six weeks, allowing respondents to complete the questions at
their own pace. In addition to English, the survey was provided in Spanish, French, Amharic, Chinese, and
Korean— the same top five non-English spoken languages that DEIS and SDEIS materials were translated
into based on Montgomery County’s Department of Transportation 2020 Language Assistance Plan. The
survey is provided in Appendix H of the Community Effects Assessment and Environmental Justice Analysis
Technical Report {FEIS, Appendix F).

In addition to the direct face-to-face engagement, postcards, flyers, yard signs, targeted social media,
local agency and community organization coordination were used to promote the survey. Promotional
materials included a QR code with a direct link to the survey online; the flyer also included the survey
questions themselves. All materials were translated into the top five non-English languages identified
above. Postcards and flyers were placed at local health clinics, specialty markets, grocery stores and places
of worship. Yard signs with the OR code were placed at affordable housing complexes and near bus transit
stations. In addition, an email with the survey was sent to 230 community email addresses informing

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people about the survey, inviting them to participate, and encouraging them to share the information
with their community. Lastly, approximately 49 places of worship were contacted and, where allowed
postcards and yard signs with the QR code were distributed.

The survey included three multiple choice questions about potential community betterment and needs,
and one open-ended question asking what other improvements are needed in the respondent’s
community. Sixty-one people completed the survey. The following are the most common responses to
the multiple-choice questions in the survey.

Question #1: Transportation improvements needed:

1. Better lighting on streets and sidewalks (21%)

2. More or improved sidewalks (17%)

3. Traffic calming to make streets safer (15%)
Question #2: Neighborhood needs:

1. Recreation centers parks, and playgrounds (30%)
2. Sidewalks, trails, and bike lanes (26%)
Question #3: Environmental problems in your community:

1. Water quality (24%)
2. Noise (20%)
3. Safe and healthy housing (20%)
The most common responses to the open-ended question on community improvements needed were:

« Lighting

e« Community services

e Safety

e Road (more or better)

To be responsive to community concerns raised during this direct engagement, which identified priorities
for more or improved sidewalks and bicycle facilities; better lighting on streets and sidewalks; and traffic
calming measures to make streets safer, MDOT SHA commits to working with the City of Rockville, the
City of Gaithersburg, and Montgomery County to:

« Identify locations where safer pedestrian crossings on major state roadways are needed.

e Identify locations where additional pedestrian improvements including adding or upgrading
sidewalk, restriping for bicycle lanes, adding or upgrading ADA ramps are needed.

« Identify locations along state roads with existing pedestrian facilities where more or better
lighting is needed.

For additional detail on EJ Engagement Initiatives, refer to the Environmental Justice Outreach and
Engagement Initiative for the Preferred Alternative in Appendix H. Refer to Appendix C of this technical
report for outreach materials used for the EJ Outreach and Engagement Initiative for the Preferred
Alternative.

MDOT SHA and the Developer will continue coordination with local and regional advisory groups to
determine additional methods for engaging with underserved communities. This will be an ongoing effort
that continues post-NEPA, through final design and construction.

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Table 3-2: Environmental Justice Outreach: Pop-Up Events

DATE ORGANIZATION
November 10, 2021 | Great Wall Supermarket (Pop-up Event with informational booth)

November 13, 2021 | Lotte Plaza Market (Pop-up Event with informational booth)

November 19, 2021 | Megamart (Pop-up Event with informational booth)
November 19, 2021 | H Mart (Pop-up Event with informational booth)

November 20, 2021 | Adarash Market (Pop-up Event with informational booth)

November 20, 2021 | Lotte Plaza Market (Pop-up Event with informational booth)

November 23, 2021 | Patel Brothers Farms Market (Pop-up Event with informational booth)

4 AGENCY AND STAKEHOLDER COORDINATION

The FHWA and MDOT SHA actively engaged the Federal, state, regional, and local agencies, as well as the
adjacent counties, Metropolitan Planning Organizations (MPO), and other agency stakeholders
throughout the Study process, simultaneously with other public involvement efforts. Additional detail on
agency correspondence received on the project is provided in the FEIS, Appendix S.

4.1. Agency and Stakeholder Coordination Meetings

Since the DEIS was published in July 2020, MDOT SHA has continued to meet with FHWA, as the Lead
Federal Agency, the Cooperating Agencies and other state and local agencies and stakeholders. The
meetings are listed in Table 4-1 and focused on discussing individual agencies’ and stakeholders’ DEIS
comments and working towards a resolution of critical study topics. Other ongoing agency involved
collaboration and consultation has included: Section 106 Consulting Parties meetings, Executive Steering
Committee meetings, and the establishment of the Environmental Justice Working Group. MDOT SHA
continues to address DEIS comments and further minimized the limits of disturbance based in part on
agency coordination. Areas of substantial resource avoidance or minimization include the American
Legion Bridge area where impacts have been reduced by over fifty percent since the DEIS; the Morningstar
Tabernacle No. 88 Moses Hall and Cemetery where design refinements resulted in complete avoidance;
and M-NCPPC parkland where MDOT SHA continues to address location specific comments and outfall
stabilization. These avoidance and minimization efforts were based on the extensive agency coordination
as detailed in Table 4-1 through Table 4-3 and Table 5-1 through Table 5-2. Another focus area for
avoidance and minimization was located adjacent to the I-495 inner loop just south of Cabin John Parkway.

Table 4-1: Agency & Stakeholder Coordination Meetings Post-DEIS Publication

DATE PURPOSE AGENCIES AND/OR STAKEHOLDERS REPRESENTED

August 3, 2020 Stream Mitigation Calculator Coordination US Army Corps of Engineers (USACE) and Maryland
Department of the Environment (MDE)

August 6, 2020 Water and Science Administration Working | MDE

Meeting

August 17, 2020 Park Impacts and Mitigation Meeting M-NCPPC Montgomery County

September 3, 2020 Wetland Mitigation Meeting National Park Service (NPS) and FHWA

September 21, 2020 | Park Impacts and Mitigation Meeting M-NCPPC Montgomery County

September 28, 2020 | Park Impacts and Mitigation Meeting M-NCPPC Prince George’s County

September 29, 2020 | Informal Section 7 Consultation US Fish and Wildlife Service (USFWS), FHWA, and
Maryland Department of Natural Resources (MDNR)

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DATE

PURPOSE

AGENCIES AND/OR STAKEHOLDERS REPRESENTED

October 5, 2020

Wetland Mitigation Meeting

NPS

October 20, 2020

Park Impacts and Mitigation Meeting

M-NCPPC Montgomery County

October 20, 2020

Bicycle and Pedestrian Improvements
Coordination Meeting

M-NCPPC Prince George’s County and Prince
George’s County DPW&T

November 2, 2020

Right-of-Way Coordination Meeting

M-NCPPC Montgomery County

November 23, 2020

Permitting Strategy Meeting

FHWA, USACE, MDE, and EPA

December 1, 2020

Biweekly FHWA Coordination Meeting

FHWA

December 1, 2020

Northwest Branch Stormwater
Management Meeting

M-NCPPC Montgomery County

December 2, 2020

Permitting Strategy Meeting

USACE, MDE, EPA, and FHWA

December 8, 2020

Plummers Island Avoidance and
Minimization Efforts Meeting

NPS, MDNR, USFWS, MDE, USACE, and FHWA

December 11, 2020

Bicycle and Pedestrian Improvements
Coordination Meeting

M-NCPPC Montgomery County and Montgomery
County Department of Transportation (DOT)

December 11, 2020

Culvert Field Meeting

EPA, MDE, USACE and FHWA

December 14, 2020

DEIS Comments Review Meeting

NPS and FHWA

December 15, 2020 | Reoccurring FHWA Coordination Meeting FHWA
December 17, 2020 | Permitting Strategy Meeting FHWA, USACE, MDE, and EPA
January 12, 2021 Reoccurring FHWA Coordination Meeting FHWA

January 19, 2021

Issue Resolution Kick-off Meeting

M-NCPPC Montgomery and Prince George’s County

January 20, 2021

Northwest Branch Stormwater
Management Meeting

M-NCPPC Montgomery County

February 1, 2021

Collaborative Leadership Summit

FHWA, USACE, EPA, NPS, National Park and Planning
Commission (NCPC), USFWS, US Postal Service
(USPS), National Oceanic and Atmospheric
Administration National Marine Fisheries Service
(NOAA NMFS), US NAVY, MDNR, MDE, M-NCPPC,
VDOT, Maryland Historical Trust (MHT), MDP, MDTA,
Maryland Transit Authority (MTA), MC DOT, and PG
DW&T

February 3, 2021

DEIS Comments Review Meeting

NCPC and FHWA

February 3, 2021

Reoccurring FHWA Coordination Meeting

FHWA

February 8, 2021

American Legion Bridge and Baltimore-
Washington Parkway Impacts Coordination
Meeting

NPS and FHWA

February 9, 2021

MLS and 1-495 NEXT Coordination Meeting

VDOT

February 9, 2021

DEIS Comments Review Meeting

MDNR and FHWA

February 10, 2021

DEIS Comments Review Meeting

USACE, MDE, and FHWA

February 11, 2021

Reoccurring FHWA Coordination Meeting

FHWA

February 18, 2021

DEIS Comments Review Meeting

EPA and FHWA

February 25, 2021

Executive Steering Committee

FHWA, USACE, US Department of Agriculture (USDA),
EPA, NPS, NCPC, USFWS, USPS, NOAA NMFS, US
Navy, US Airforce Joint Base Andrews (JBA), MDNR,
MDE, M-NCPPC, VDOT, MHT, MDP, MDTA, MTA, MC
DOT, and PG DPW&T

February 26, 2021

Carderock and Bethesda Property Impacts
Meeting

US Navy and FHWA

March 2, 2021

Reoccurring FHWA Coordination Meeting

FHWA

March 4, 2021

American Legion Bridge, Baltimore-
Washington Parkway, and George

NPS and FHWA

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DATE

PURPOSE

AGENCIES AND/OR STAKEHOLDERS REPRESENTED

Washington Memorial Parkway Impacts
Coordination Meeting

March 10, 2021

DEIS Comments Review and Stormwater
Management Meeting

M-NCPPC Montgomery County

March 15, 2021

DEIS Comments Review Meeting

M-NCPPC Montgomery County

March 17, 2021

Reoccurring FHWA Coordination Meeting

FHWA

March 19, 2021

Stormwater Management Meeting

M-NCPPC Prince George’s County

March 24, 2021

DEIS Comments Review and Stormwater
Management Meeting

M-NCPPC Prince George’s County

April 1, 2021 Transportation Use and Property Boundary | NPS and FHWA
Meeting
April 6, 2021 American Legion Bridge and Resources USACE and MDE
Update Meeting
April 6, 2021 Reoccurring FHWA Coordination Meeting FHWA
April 9, 2021 DEIS Comments Review and Stormwater M-NCPPC Prince George’s County

Management Meeting

April 12, 2021

Rock Creek DEIS Comments Review
Meeting

M-NCPPC Montgomery County

April 13, 2021

Stormwater Management Site Meeting

M-NCPPC Montgomery County

May 4, 2021

Reoccurring FHWA Coordination Meeting

FHWA

May 12, 2021

Phase 1 South Park Impacts and Mitigation
Meeting

M-NCPPC Montgomery County

May 18, 2021

SDEIS Air and Noise Coordination Meeting

FHWA

May 26, 2021

Executive Steering Committee

FHWA, USACE, EPA, NPS, NCPC, USFWS, USPS NOAA
NMFS, US Navy, JBA, MDNR, MDE, M-NCPPC, VDOT,
MHT, MDP, MDTA, MC DOT, and PG DPW&T

June 1, 2021

Reoccurring FHWA Coordination Meeting

FHWA

June 2, 2021 Mosses Hall Cemetery and First Agape AME | First Agape AME Zion Church at Gibson Grove,
Zion Church Bicycle and Pedestrian Friends of Moses Hall, M-NCPPC Montgomery
Connection on Seven Locks Road Meeting County, MCDOT, and FHWA

June 8, 2021 Air Quality Conformity Determination FHWA
Meeting

June 10, 2021 Compensatory Stormwater Management FHWA
Plan Meeting

June 21, 2021

Park Impacts and Mitigation Meeting

NPS and FHWA

June 21, 2021

American Legion Bridge Trail Connection
Meeting

M-NCPPC, MCDOT, NPS, and FHWA

June 21, 2021

Maryland and Virginia 495 Interface
Technical Coordination

VDOT

June 23, 2021

Transportation Use and Property Boundary
Meeting

NPS and FHWA

June 30, 2021

Transportation Use and Property Boundary
Meeting

NPS and FHWA

July 7, 2021 Air Quality Conformity FHWA
July 8, 2021 Transportation Use and Property Boundary | NPS and FHWA
Meeting
July 12, 2021 Park Impacts NCPC, NPS, FHWA
July 13, 2021 Maryland and Virginia 495 Interface VDOT
Technical Coordination
July 14, 2021 NPS Parkland Impacts FHWA

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DATE PURPOSE AGENCIES AND/OR STAKEHOLDERS REPRESENTED

July 20, 2021 Maryland and Virginia 495 Interface VDOT
Technical Coordination

July 27, 2021 NEPA and Section 106 Process FHWA

August 3, 2021 Maryland and Virginia 495 Interface VDOT
Technical Coordination

August 9, 2021 Air Quality and Environmental Justice FHWA
Meeting

August 16, 2021 SDEIS Comments FHWA

August 17, 2021 Maryland and Virginia 495 Interface VDOT
Technical Coordination

August 18, 2021 Highway Deed Easement Process with NPS FHWA
and SDEIS Comments

August 18, 2021 Reoccurring FHWA Coordination Meeting FHWA

August 23, 2021

|-495 NEXT and MLS Coordination Meeting

VDOT and Fairfax County Department of

Transportation

August 25, 2021 SDEIS Comments FHWA
August 26, 2021 Air Quality SDEIS Comments FHWA
August 30, 2021 SDEIS Comments FHWA
August 31, 2021 Maryland and Virginia 495 Interface VDOT

Technical Coordination

September 1, 2021 Review of Common SDEIS Comments FHWA, NPS, USACE, EPA, NCPC, MDE, M-NCPPC,
MCDOT

September 7, 2021 Park Mitigation Field Meeting M-NCPPC

September 7, 2021 Reoccurring FHWA Coordination Meeting FHWA

September 14, 2021 | Maryland and Virginia 495 Interface VDOT

Technical Coordination

September 16, 2021 | Coordination Meeting M-NCPPC, FHWA
September 22, 2021 | Coordination Meeting NPS, FHWA
September 27, 2021 | Highway Easement Deed Discussion FHWA
September 28, 2021 | Maryland and Virginia 495 Interface VDOT

Technical Coordination
September 28, 2021 | Fairfax Board of Transportation Committee | Fairfax County, VDOT

September 29, 2021

|-495 NEXT Virtual Public Meeting

VDOT

September 30, 2021

Coordination Meeting

NPS, VDOT, FHWA

September 30, 2021 | Coordination Meeting M-NCPPC, FHWA
October 4, 2021 Leadership Meeting Montgomery County
October 12, 2021 Maryland and Virginia 495 Interface VDOT

Technical Coordination
October 13, 2021 Noise Wall Discussion VDOT
October 14, 2021 Coordination Meeting NPS, FHWA
October 14, 2021 Coordination Meeting M-NCPPC, FHWA
October 28, 2021 Coordination Meeting NPS, FHWA
October 28, 2021 Coordination Meeting M-NCPPC, FHWA
November 2, 2021 Tuckerman Lane Bike / Ped Discussion M-NCPPC
November 2, 2021 Reoccurring FHWA Coordination Meeting FHWA
November 5, 2021 Mitigation Field Meeting M-NCPPC
November 9, 2021 Maryland and Virginia 495 Interface VDOT

Technical Coordination
November 10, 2021 | Mitigation Field Meeting M-NCPPC

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PURPOSE

AGENCIES AND/OR STAKEHOLDERS REPRESENTED

November 17, 2021

Reoccurring FHWA Coordination Meeting

FHWA

November 18, 2021 | Coordination Meeting NPS, FHWA
November 23, 2021 | Maryland and Virginia 495 Interface VDOT

Technical Coordination
December 7, 2021 Maryland and Virginia 495 Interface VDOT

Technical Coordination
December 14, 2021 | Environmental Justice: Morningstar FHWA

Cemetery Discussion
December 14, 2021 | Mitigation Coordination Meeting M-NCCPC, FHWA
December 15, 2021 | Coordination Meeting NPS, FHWA
January 4, 2022 Maryland and Virginia 495 Interface VDOT

Technical Coordination

January 7, 2022

Stormwater Management Discussion

M-NCPPC, DNR, MDE, NOAA, USACE, USEPA, FHWA,
USFWS

January 11, 2022 |-495 NEXT / Phase 1 South Technical VDOT
Coordination Meeting
January 18, 2022 Maryland and Virginia 495 Interface VDOT
Technical Coordination
January 19, 2022 Coordination Meeting M-NCPPC
January 19, 2022 Coordination Meeting City of Rockville, FHWA
January 27, 2022 Coordination Meeting NPS, FHWA
February 24, 2022 Coordination Meeting NPS, FHWA
March 8, 2022 Reoccurring FHWA Coordination Meeting FHWA
March 17, 2022 GWMP Signing Discussion NPS, FHWA

Note: All meetings held virtually unless otherwise denoted.

4.2

Interagency Working Group Meetings

Since the DEIS was published in July 2020, MDOT SHA held four virtual Interagency Agency Working Group
(IAWG) meetings with members from 27 Cooperating and Participating Agencies. The focus of the IAWG

meetings was to provide Study updates, present common DEIS comment themes, discuss proposed

responses to common comments, discuss ongoing public and agency collaboration, present avoidance
and minimization measures, and to identify the recommended preferred alternative, present justification
for recommending the alternative and to listen to feedback on the alternative (Table 4-2).

Table 4-2: IAWG Meetings Post-DEIS Publication

DATE

IAWG MEETING # PURPOSE

AGENCIES REPRESENTED

Summary of DEIS Comments,

Provide MLS Study Update, Review

Announce Recommended Preferred

Advisory Council on Historic Preservation (ACHP),
EPA, FHWA, USFWS, MDE, MDNR,

MDOT MTA, MDP, MDTA, MHT, M-NCPPC, MC

January 27, 2021 13 Alternative and Associated DOT, Metropolitan Washington Council of
Commitments, anda New mgeney Governments (MWCOG), US Navy, NCPC, National
alld Stakenoiger Cohaeratan Institute of Standards and Technology (NIST), NPS,
RERGESS PG DPW&T, USACE, USPS, and VDOT

. ACHP, EPA, FHWA, USFWS, MDE, MDNR, MDOT
Provide Update on Agency and
February 17, 2021 14 Stakeholder Collaboration Efforts, RUT IDES MELT NE OIGE PG MG BOs WIV COR Ue

DEIS Comments, Review

Design Efforts to address common

Navy, NCPC, NIST, NPS, PG DPW&T, USACE, USDA,
USDA, USPS, VDOT, JBA

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DATE IAWG MEETING # PURPOSE AGENCIES REPRESENTED

Recommended Preferred alternative

Provide MLS Update, Announce a

New Recommended Preferred ACHP, EPA, FHWA, USFWS, MDE, MDNR, MDOT
May 12, 2021 15 Alternative based off of Agency and MTA, MDOT MDTA, MHT, M-NCPPC, MC DOT,
, Public Feedback, Announce the MWCOG, US Navy, NIST, PG DPW&T, USACE,
SDEIS, and Provide an Updated MLS USDA, USPS, VDOT, JBA
Schedule

Provide Update on MLS efforts since
the SDEIS publication, review of

16 SDEIS comments, Ongoing activities
towards the FEIS, and Provide an
Updated MLS Schedule

ACHP, EPA, FHWA, USFWS, MDE, MDNR, MDOT
MTA, MDOT MDTA, MDP, MHT, M-NCPPC, MC
DOT, MWCOG, US Navy, NCPC, NIST, NOAA, NPS,
PG DPW&T, USACE, USPS, VDOT

December 15,
2021

4.3. City of Rockville and City of Gaithersburg Meetings

MDOT SHA also met with the City of Rockville and City of Gaithersburg to discuss DEIS comments, property
impacts, proposed stormwater management, parkland impacts and mitigation, bicycle and pedestrian
improvements, traffic and structure design within the applicable City’s limits (Table 4-3).

Table 4-3: City of Rockville and City of Gaithersburg Meetings Post-DEIS Publication

DATE MEETING

March 19, 2021 City of Rockville Coordination Meeting

April 14, 2021 City of Rockville Stormwater Management Coordination Meeting
April 29, 2021 City of Rockville Parkland and Mitigation Meeting

July 22, 2021 City of Gaithersburg Parkland and Mitigation Meeting
September 2, 2021 City of Rockville Design, Traffic, and Mitigation Meeting
September 14, 2021 City of Gaithersburg Coordination Meeting

November 4, 2021 City of Rockville Design and Parkland Mitigation Meeting
November 22, 2021 City of Rockville Coordination Meeting

January 19, 2022 City of Rockville Coordination Meeting

5 REGULATORY AGENCY CONSULTATION

Concurrent with the public involvement efforts and general agency coordination, consultation with
regulatory agencies with jurisdiction and/or special expertise over environmental resources was required
for several resource evaluations. Details on consultation and related correspondence are provided in the
respective resource-specific technical reports. Note that resource-specific agency consultation is an
ongoing effort that will continue through the FEIS and Record of Decision to the extent appropriate
through development and will focus on impact avoidance and minimization strategies and mitigation
opportunities for unavoidable impacts.

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5.1 Natural Resource Agency Coordination

The regulatory and permitting process was conducted concurrently with NEPA and required agency
consultation with the goal of gaining approval for a USACE Individual Section 404 Permit; MDE Wetlands
and Waterways Permit; USFWS ESA Section 7; and MDE 401 Water Quality Certification. These approvals
required meetings for the following purposes:

e Jurisdictional Determination;

e Permitting strategy;

e Avoidance, minimization, and mitigation;
e Wetland delineation; and

e Rare, Threatened, and Endangered Species coordination.

Table 5-1 summarizes the meetings held since July 2020. For additional detail on agency correspondence

received on the project regarding natural resources, refer to the FEIS, Appendix S.

Table 5-1: Natural Resource Related Meetings

DATE AGENCIES GENERAL TOPICS COVERED
July 9, 2020 MDE and USACE Discussion of the logistics of the MLS Joint Public Hearings, both
virtual and in-person, for 404/401 purposes
July 21, 2020 DNR Review Additional Potential Fish Blockages noted by MDE and
USFWS Upstream and Downstream of the Paint Branch Fish
Passage Site (AN-6)
July 22, 2020 M-NCPPC Montgomery Montgomery County M-NCPPC Comments on the Tributary to
County Seneca Creek Site (CA-5) Concept Design
July 24, 2020 Washington Suburban Logistics for Proposed Mitigation Site Work Over WSSC Sewer
Sanitary Commission and Water Lines.
(WSSC)
August 12, 2020 M-NCPPC Montgomery Montgomery County M-NCPPC & WSSC Comments on the
County Crabbs Branch Site (AN-1) 404 Mitigation Concept Design
August 12, 2020 USACE Discussion of new regulatory definition of Waters of the US and
any implications on the Jurisdictional Determination
August 27, 2020 MDE Discussion of impacts within the MDE Tier || boundary and the
Tier |] package requirements
September 3, 2020 NPS Discussion of the Statement of Findings requirement as it

pertains to MLS and path forward for coordination meetings.

September 4, 2020

USACE and MDE

Discussion with the regulatory agencies about how to apply the
MSMF stream calculator and which stream assessments to use.

September 29, 2020

M-NCPPC Montgomery
County

404 Mitigation Magruder Branch (CA-2/3) Site Preliminary
Design

September 29, 2020

FHWA

Culvert and permitting

September 29, 2020 | USACE and MDE Provide project updates and receive updates from the
regulatory agencies related to MLS permitting.

September 29, 2020 | DNR and USFWS MLS Informal Section 7 Consultation — 2020 Bat Survey Results

October 5, 2020 NPS Wetland Mitigation Meeting for CHOH and GWMP

October 14, 2020 NPS Wetland Mitigation for NPS National Capital Parks- East

October 15, 2020 FHWA, USACE, and MDE Permitting

October 16, 2020 MDE, USACE, DNR, and EPA | 404 Mitigation Magruder Branch (CA-2/3) and Pebblestone Dr.
Tributary Preliminary Designs

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DATE AGENCIES GENERAL TOPICS COVERED
October 29, 2020 USACE and MDE 404 Permitting Update Meeting
November 9, 2020 FHWA, USACE, and MDE Permitting

November 12, 2020

USACE and MDE

404 Permitting Update Meeting

November 18, 2020

M-NCPPC Montgomery
County

Stormwater Field Meeting

November 19, 2020

USACE and MDE

Stream Assessment Field Meeting

November 19, 2020

MDE and USACE

404 Mitigation Magruder Branch (CA-2/3) Wetland Delineation
Field Review

November 24, 2020

USACE and MDE

Permitting

December 1, 2020

M-NCPPC Montgomery
County

Stormwater Field Meeting

December 2, 2020

M-NCPPC Prince George’s
County

ROE Agreement Extension

December 8, 2020

USACE, MDE, FHWA, DNR,
USFWS, and NPS

Plummers Island Coordination

December 10, 2020

USACE and MDE

404 Permitting Update Meeting

December 11, 2020

EPA, MDE, USACE, and
FHWA

Culvert Field Meeting

December 14, 2020

EPA, FHWA, USACE, and
MDE

Phased Permit Process

December 21, 2020

MDE and USACE

Culvert Field Meeting

January 7, 2021

USACE and MDE

404 Permitting Update Meeting

January 14, 2021

MDE and USACE

Seneca Creek Tributary (CA-5) and Crabbs Branch (AN-1)
Wetland Delineation Field Reviews

January 19, 2021

MDE, USACE, and EPA

401 Water Quality Certification (WQC) Working Session

January 21, 2021

USACE and MDE

404 Permitting Update Meeting

January 22, 2021

MDE

404 Mitigation Henson Creek (RFP-5) and Mill Swamp Creek
(RFP-6) Wetland Delineation Field Reviews

February 4, 2021

USACE and MDE

404 Permitting Update Meeting

February 16, 2021

USACE and MDE

A presentation to the regulatory agencies of how the Maryland
Stream Mitigation Framework stream calculator is being
applied to the MLS.

February 18, 2021

USACE and MDE

404 Permitting Update Meeting

February 22, 2021

MDE, USACE, and EPA

401 WQC Working Session

March 1, 2021

NPS

Washington Biologists Field Club Coordination Meeting

March 4, 2021

USACE and MDE

404 Permitting Update Meeting

March 9, 2021

MDE and USACE

Cabin Branch (RFP-2) and Pebblestone Dr. Tributary (AN-3)
Wetland Delineation Field Reviews

March 18, 2021

USACE and MDE

404 Permitting Update Meeting

March 19, 2021 PEPCO 404 Mitigation Tributary to Seneca Creek (CA-5) Semi-Final
Design

March 24, 2021 M-NCPPC Montgomery 404 Mitigation Tributary to Seneca Creek (CA-5) Semi-Final
County, MDE, and USACE Design

April 1, 2021 MDE and USACE 404 Mitigation Indian Creek and Tributaries at Konterra (RFP-1)
Wetland Delineation Field Review

April 9, 2021 MDOT SHA Plan Review 404 Mitigation PRD Comments on the Magruder Branch (CA-

Division (PRD) 2/3) Site Development Submittal

April 16, 2021 MDE and USACE 404 Mitigation Indian Creek and Tributaries at Konterra (RFP-1)
Wetland Delineation Field Review

April 22, 2021 MDE and USACE 404 Permitting Update Meeting

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AGENCIES

GENERAL TOPICS COVERED

May 6, 2021

M-NCPPC Montgomery
County, MDE, and USACE

404 Mitigation Magruder Branch (CA-2/3) Semi-Final Design

May 20, 2021

MDE and USACE

404 Permitting Update Meeting

June 15, 2021

MDE and USACE

Discussion of impact presentation in JPA and NEPA Documents

June 25, 2021

MDE and USACE

Compensatory SWM Site Wetlands & Waterways Delineation
Field Review

June 30, 2021

DNR

Mussel Survey

June 30, 2021

M-NCPPC Montgomery
County, MDE, and USACE

404 Mitigation Tributary to Seneca Creek (CA-5) Semi-Final
Field Meeting

July 1, 2021

MDE and USACE

404 Permitting Update Meeting

July 12, 2021

M-NCPPC Montgomery
County and MDE

404 Mitigation M-NCPPC Comments on the Magruder Branch
(CA-2/3) Semi-Final Design

July 15, 2021 MDE and USACE 404 Permitting Update Meeting

July 23, 2021 DNR Rare, Threatened, and Endangered Species and Boring
Locations

August 4, 2021 MDE and USACE LOD Review Meeting

August 19, 2021

USACE

Change in Jurisdiction for Navigable Waters Protection Rule

August 26, 2021

MDE and USACE

404 Permitting Update Meeting

September 7, 2021 M-NCPPC Montgomery A(f) Mitigation Cabin John Creek Field Meeting
County
September 9, 2021 MDE and USACE 404 Permitting Update Meeting

September 24, 2021

USACE, MDE, USFWS,
MDNR, EPA, M-NCPPC

Compensatory SWM Field Review

October 13, 2021 USACE, MDE LOD Review Meeting- review minor changes

October 14, 2021 M-NCPPC M-NCPPC Coordination Meeting

November 3, 2021 USACE, MDE Permitting Update Meeting

November 9, 2021 VDOT 1-495 NEXT Project Coordination

November 29, 2021 | MHT, NPS, FHWA Washington Biologists’ Field Club Coordination Meeting
December 21, 2021 | USACE, MDE JPA Package Review Meeting

January 7, 2022

USACE, EPA, FHWA MDE,
M-NCPPC, Montgomery
County, MDNR

Stormwater management discussion

5.2

Section 106 Consultation

Agency and interested parties consultation is being conducted in accordance with Section 106 of the

National Historic Preservation Act of 1966 that considers the effects of the proposed action on historic

properties. FHWA and MDOT SHA notified the agencies and other consulting parties of an update to the
undertaking’s Area of Potential Effects (APE), new architectural eligibility determinations, and effects
assessments on July 23, 2020. The agencies and other consulting parties received archaeological reports
documenting archaeological and architectural survey and evaluation efforts for stream and wetland
mitigation areas identified by the Study, as added to the APE in July 2020, as well as determination of

eligibility forms for architectural resources associated with the proposed off-site wetlands and water
quality mitigation sites on February 11, 2021.

The FHWA and MDOT SHA held a fourth consulting parties’ meeting virtually on March 10, 2021. A draft
Programmatic Agreement was distributed for review and comment to the consulting parties on March 10,
2021 with the comment period ending April 12, 2021. MDOT SHA has continued to coordinate with

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individuals consulting parties through informal meetings, email and other means as impacts to specific
resources are evaluated. MDOT SHA has conducted additional field work at the Moses Hall Cemetery, and
closely coordinated this effort with key consulting parties including the Friends of Moses Hall, the trustees
of the property, and the First Agape AME Zion Church at Gibson Grove. A draft report documenting the
fieldwork effort at Moses Hall Cemetery, with additional information on the Gibson Grove AME Zion
Church was provided to consulting parties for comment on May 27, 2021.

On September 8, 2021, MDOT SHA provided additional consultation materials including: additional
Ground Penetrating Radar results at the Morningstar Tabernacle No. 88 Moses Hall and Cemetery, a
revision to the APE to reflect the Phase 1 South limits including avoidance and minimization measures,
archaeological and historic architectural assessments of the proposed stormwater mitigation locations,
new determinations of eligibility, and revised effect determinations to reflect the reduced APE based on
the Phase 1 South limits. Additionally, a comment from VDHR was addressed to revise the effect
determination on one archaeological site in Virginia. Concurrence was requested from MHT on the
eligibility determinations and revised effect determinations, in accordance with each agency's
jurisdictional authority.

The FHWA and MDOT SHA have also held separate meetings with consulting parties to discuss avoidance,
minimization, and mitigation efforts on adversely affected historic properties within the APE (Table 5-2).
Note that Section 106 public involvement is being fulfilled through the same processes used for general
public involvement and NEPA compliance. For additional detail on agency correspondence received on
the project regarding cultural resources, refer to the FEIS, Appendix S.

Table 5-2: Section 106 Consultation Meetings Post-DEIS Publication

DATE ORGANIZATION

September 16, 2020 Friends of Moses Hall

November 10, 2020 Friends of Moses Hall

February 10, 2021 Friends of Moses Hall

March 10, 2021 Consulting Parties

April 6, 2021 First Agape AME Zion Church at Gibson
Grove

May 5, 2021 Virginia Department of Historic Resources
(VDHR), VDOT, and NPS

June 2, 2021 First Agape AME Zion Church at Gibson

Grove, Friends of Moses Hall, M-NCPPC
Montgomery County, MCDOT, and FHWA
September 8, 2021 First Agape AME Zion Church at Gibson
Grove, Friends of Moses Hall, M-NCPPC
Montgomery County, MCDOT, and FHWA
October 18, 2021 ACHP, MHT, VDHR, NPS, FHWA

January 4, 2022 First Agape AME Zion Church at Gibson
Grove, Friends of Moses Hall, M-NCPPC
Montgomery County, MCDOT, MHT, and
FHWA

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5.3. Section 4(f) Agency Coordination

Section 4(f) of the US Department of Transportation Act of 1966 mandates that use of a publicly-owned
park, recreation area, wildlife/waterfowl refuge, or historic site for a transportation project cannot be
approved unless there is no feasible and prudent alternative that avoids such use and all possible planning
to minimize harm to Section 4(f) properties has been included in the project. In reaching the
determination that no feasible and prudent avoidance alternative exists and all possible planning to
minimize harm has been included in the project, Section 4(f) regulations require the Draft Section 4(f)
Evaluation be made available for coordination and comment to officials with jurisdiction over the Section
A(f) resources. The Draft Section 4(f) Evaluation was available for review and comment with the DEIS
comment period July 10 through November 9, 2020. The Draft Section 4(f) Evaluation is available on the
project website: https://495-270-p3.com/wp-content/uploads/2020/07/DEIS AppF Draft-Section-4f-

Eval_web.pdf.

Since July 2020, MDOT SHA has conducted conference calls, meetings, and field reviews with or sent
letters to the following officials with jurisdiction over parkland along the study corridors: NPS, M-NCPPC
Montgomery County, M-NCPPC Prince George’s County, NCPC, City of Rockville, City of Gaithersburg, City
of Greenbelt, City of New Carrollton, and Montgomery County Department of Education. FHWA and
MDOT SHA have also held meetings and coordinated with the agencies with jurisdiction over historic sites,
including NPS, the Advisory Council on Historic Preservation (ACHP), MHT, and VDHR. Through this
extensive coordination, MDOT SHA has provided detailed explanations of the proposed project design
and its associated impacts on Section 4(f) properties. MDOT SHA has also worked closely with the officials
with jurisdiction to further reduce impacts and minimize harm to Section 4(f) properties. These
minimization efforts are presented in Chapter 6 of this FEIS. Additionally, MDOT SHA has developed
preliminary Section 4(f) mitigation opportunities and provided them to the officials with jurisdiction for
feedback. Coordination with the officials with jurisdiction will continue, as needed, through the
development of the Final Section 4(f) Evaluation and will focus on efforts to further reduce impacts and
harm to Section 4(f) properties and the development of appropriate Section 4(f) mitigation and
enhancement opportunities.

In addition to Officials with Jurisdiction, the Section 4(f) Evaluation must be made available to the US
Department of the Interior (USDOI) and as needed, to the USDA and the Department of Housing and
Urban Development (23 C.F.R. §774.5). In accordance with 23 CFR §774.5, USDOI has been provided an
opportunity to review and comment on the Draft Section 4(f) and Updated Section 4(f) which included a
preliminary conclusion on the avoidance and least overall harm analysis. DOI consultation will continue
with review of the Final Section 4(f) Evaluation in coordination with the FEIS which will enable USDOI to
provide comments on FHWA’s conclusions regarding the existence of feasible and prudent avoidance
alternatives, the inclusion of all possible planning to minimize harm to Section 4(f) properties (including
mitigation), and the least overall harm alternative. The Preferred Alternative would not affect resources
requiring coordination with USDA and HUD and, therefore, consultation with these agencies is not
necessary.

For additional detail on agency correspondence received on the project regarding Section 4(f), refer to
the FEIS, Appendix S.

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6 INCORPORATION OF PUBLIC AND AGENCY INPUT INTO THE
STUDY

Following the publication of the DEIS in July 2020, MDOT SHA has considered nearly 5,000 comments
submitted via email, phone, online and hard copy comment forms, and public testimony. MDOT SHA
communicated with many agencies, stakeholders, and members of the public to address their questions
and concerns. As a result of this continued involvement and engagement effort with agencies,
stakeholders, and members of the public, comments have been incorporated into the project the
following ways (not all-inclusive):

e Aligned the Preferred Alternative and permitting process with the phased delivery approach
focusing on addressing the severe congestion at the ALB as priority.

e Committed to constructing a shared use path on the east side of the ALB to support regional
pedestrian and bicycle connectivity.

e Avoided and significantly reducing property, community, historic, natural resource and parkland
impacts.

e Avoided all residential and business displacements.
e Avoided impacts at the historic Morningstar Tabernacle No. 88 Moses Hall and Cemetery.

e Identified appropriate on-site and off-site stormwater management to meet regulatory
requirements and removed or relocated stormwater management facilities from sensitive
resources including parks and National Park Service (NPS) property, where feasible.

¢ Monitored and analyzed traffic impacts associated with the COVID-19 Pandemic to understand
any impacts to the Study.

e Committed to priority bicycle, pedestrian, and transit improvements to increase affordable multi-
modal options for travel within the study corridors.

e Included toll-free travel under the Preferred Alternative for High Occupancy Vehicles with three
(3) or more user, transit buses, carpool/vanpool and motorcyclists to reduce the reliance on single
occupancy vehicles and provide equitable travel options.

e Removed the existing Collector-Distributor system on |-270 to largely stay within the existing
roadway footprint on I-270 to avoid and minimize environmental and property impacts.

e Modified direct access ramps to the managed lanes in consideration of local land use and the
potential for community, property and environmental impacts.

e Established a Transit Work Group to further explore opportunities for new or expanded transit
service on managed lanes.

e Established an Economic Work Group to determine the economic impacts of the project to the
National Capital Region.

e Established an Environmental Justice Work Group to support the Environmental Justice analysis
and engagement efforts

® Incorporated closed roadway sections with retaining walls where feasible to avoid and minimize
environmental and property impacts.

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e Included underground stormwater management vaults to avoid and minimize environmental and
property impacts.

e Significantly revised the constructability plan for the ALB by removing construction access in three
of the four quadrants to avoid and minimize impacts to National Park Service property.

® Elimination of flyover ramps at MD 190/River Road by adjusting the location of the HOT lane direct
access ramps between |-495 and MD 190. All HOT lanes direct access ramps within this
interchange are now proposed to connect at a new intersection on the MD 190 bridge over |-495
without the use of flyover ramps.

This effort was possible through the extensive agency and stakeholder coordination that occurred since
publication of the DEIS in July 2020 including:

e Establishing Economic, Transit and Environmental Justice Working Groups

e Holding over 50 individual stakeholder Meetings with municipalities, non-governmental
organizations, elected officials and communities.

e Holding over 60 resource and regulatory agency meetings to discuss DEIS comments, avoidance,

minimization, and mitigation opportunities; and

e Holding over 40 field and office meetings with regulatory agencies to discuss natural resource

impacts, stormwater management, culvert augmentation and permitting.

June 2022 31

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Case 8:22-cv-02597-DKC Document 61-1 Filed 10/30/23 Page 35 of 72
OP LANES” 1-495 & [-270 Managed Lanes Study

> MARYLAND Final Public Involvement & Agency Coordination Technical Report

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June 2022

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Introduction

The National Capital Region is one of the most congested in the nation,
and Marylanders face the second-highest commuting times in the
country. With projected population growth in the National Capital Region,
Marylanders will continue to see those numbers increase. Multiple
studies show that a comprehensive transportation network, including
improvements to |-495 and |-270 coupled with investment in transit, is 7
necessary to address congestion and move people, goods and services
throughout the region.
Potomac Silver Spring
Bethesda 185

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To address these challenges today and for the future, the Federal

Highway Administration (FHWA) and the Maryland Department of
Transportation State Highway Administration (MDOT SHA) are completing
the |-495 & |-270 Managed Lanes Study in compliance with the National
Environmental Policy Act (NEPA). The study seeks to identify a solution that
addresses congestion, improves trip reliability, and enhances existing and
planned mobility and connectivity for other modes of travel, including
transit and ridesharing, along portions of |-495 and |-270.

Washington

Arlington

Extensive public outreach has been completed for the Managed Lanes
Study, including four Scoping Open Houses in April 2018, four Public
Workshops presenting the Preliminary Range of Alternatives in July 2018,
eight Public Workshops presenting the Alternatives Retained for Detailed
Study in April and May 2019, and more than 180 meetings and events with
communities, property owners, stakeholder groups and elected officials.

Purpose of Joint Public Hearings

FHWA and MDOT SHA have completed the Draft Environmental Impact Statement (DEIS) and Draft Section 4(f) Evaluation for the Managed Lanes
Study, with the Notice of Availability published in the Federal Register on July 10, 2020. The DEIS includes traffic, environmental, engineering, and
financial analyses of the Build Alternatives and the No Build Alternative. This DEIS is the first step of the procedural process prescribed in NEPA and
provides an opportunity for the public, interest groups and other agencies to review and provide comment on the proposed federal action and
the adverse and beneficial environmental impacts and proposed mitigation for unavoidable impacts.

With the DEIS milestone, we are seeking public and agency comment between July 10, 2020 and October 8, 2020. The public comment period
may be extended 30 days. Please visit the Program website, 495-270-P3.com/DEIS, for updates.

FHWA, MDOT SHA, and the Maryland Department of the Environment (MDE) will conduct six Joint Public Hearings. The U.S. Army Corps of
Engineers (USACE) will participate in one hearing on August 25 to meet the Department of the Army requirements. Comments will also be
accepted on the Joint Federal/State Application (JPA) for the Alteration of Any Floodplain, Waterway, Tidal or Nontidal Wetland in Maryland.
USACE is responsible for reviewing the JPA per the Clean Water Act, Section 404(b)(1) and MDE is responsible for reviewing the Application per
Environment Article §5-503 and §5-906, Annotated Code of Maryland.

The comment period and Joint Public Hearings enables FHWA, MDOT SHA, MDE, and USACE to receive written and oral comments to consider in
the further evaluation of the impacts of the proposed Study. In addition to the hearings, comments will also be accepted via an online comment
form, email and letters using traditional mail.

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OF TRANSPORTATION Federal Highway Administration

STATE HIGHWAY Maryland Department US Army Corps
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COVID-19 Considerations

MDOT’s number one priority is the health and safety of Marylanders.
MDOT SHA recognizes the substantial impact of the COVID-19
stay-at-home order on current transportation patterns throughout
the region and our day-to-day lives including the reduced traffic on
interstates such as |-495 and |-270. We are continuing with our efforts
to ensure transportation improvements are being developed to meet
the needs of Marylanders for today and for the future.

Purpose and Need

Purpose: To develop a travel demand management solution(s) that
addresses congestion, improves trip reliability on |-495 and I-270 within
the study limits and enhances existing and planned multimodal mobility.

Needs:

m@ Accommodate existing traffic and long-term traffic growth
m@ Enhance trip reliability

m Provide additional roadway travel choices

= Accommodate homeland security

= Movement of goods and services

Goals:

® Financial viability
m Environmental responsibility

Travel Benefits

Delays can be caused by slow travel due to congestion on the
highway. If one of the Build Alternatives is implemented, commuters
on |-495 and I-270 would expect to see reduced travel times. The

Average Annual Hours of Savings per table below summarizes

Rane are the number of hours
‘Commuter in 2040 per year of travel time
PC Aa | 0 savings an average

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commuter on |-495 and
|-270 would experience
in 2040, assuming two
commute trips per
working day (to and
from home) and 260
working days per year.

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Paar beh yi ce) 72

Road users would benefit
from implementing

a Build Alternative,
including those travelers
in the managed lanes, travelers using the general purpose lanes, trucks
(freight), transit buses, and even those using the local road network.
Travel time savings would be the greatest for people using the
managed lanes, including carpoolers and bus riders (as managed lanes
would provide the opportunity for a toll-free, reliable trip for buses).
Users of the general purpose lanes, who would continue to travel for
free, would also have reduced travel times.

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reeked : 1-270 and |-495 home
Fem stUr ite aU ppedey: (8)

Pilar lh] 29% 6.6%
PVE ie) 34% 7.0%
SEL 30% 5.9% |
aretha 35% 6.5% |
PV ecg rLah cia ied sd 24% 6.8%
Perel a es 31% 6.4%

Delays on the local roads would be reduced because some travelers
who use the local network due to highway congestion would be able

to use the additional capacity on the highway. The projected percent
decrease in delay on highways and local roads in 2040 is summarized for
each alternative. Travelers on |-495 and |-270 would experience the most
benefit, with a reduction in delay between 29% and 35%, respectively
compared to the No Build. Travelers on surrounding local roadways
would also have a 6% to 7% reduction in delay.

In addition to the travel time savings, the Build Alternatives would each
provide a reliable trip when needed. Tolling would ensure speeds of 45
mph or faster are maintained in the managed lanes. Similar projects have
shown real-world benefits, including managed lanes on the Northwest
Corridor in Atlanta, GA; I-95 in Miami, FL; I-95 north of Baltimore, MD; and
throughout northern Virginia. In these locations, speeds have increased,
delays due to congestion have decreased, and bus ridership and carpools
along the managed lane corridors have increased.

What Could the Toll Rates Be?

The planning study and the DEIS do not provide recommendations

as to the proposed toll rate ranges for the managed lanes. However,
potential toll rates were estimated to meet the goals of the Public-Private
Partnership (P3) Program (manage traffic demand/congestion) and to
determine if the Build Alternatives would be financially viable. Therefore,
for planning purposes only, the 2025 average weekday toll rates per
mile (in 2020 $) for all time periods for passenger cars using an E-ZPass
transponder were estimated to be:

= $0.70/mile for Alternative 8 @ $0.68/mile for Alternative 10
= $0.69/mile for Alternative 9 = $0.73/mile for Alternative 13B
= $0.77/mile for Alternative9M & $0.71/mile for Alternative 13C

The actual toll rate ranges will be set by the Maryland Transportation
Authority (MDTA) Board in a process prescribed by the Code of Maryland
Regulations (COMAR) 11.07.05 — Public Notice of Toll Schedule Revisions,
and will include public hearings in each county affected by the toll rates
and a public comment period of at least 60 days. An analysis of data
indicates that currently, the average trip in the study area is 8 miles, and
that 37% of trips are 5 miles or less.

Pedestrian/Bicycle Access

Existing sidewalks, shared-use paths, bikeable shoulders, and
bikeways impacted by the proposed improvements will be replaced
and upgraded. Additionally, new pedestrian and bicycle facilities are
being evaluated in collaboration with local stakeholders to enhance
connectivity, including a new pedestrian and bicycle facility on the
new American Legion Bridge.

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Proposed Accéss Locations

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|-270 at |-370 (access to Shady Grove Metro)

1-270 at Gude Drive

|-270 at Wootton Parkway (access to Twinbrook Metro)

|-270 at Westlake Terrace (access to Montgomery Mall Transit Center)
|-270 east of MD 187

|-495 at George Washington Parkway

|-495 north of Clara Barton Parkway

1-495 at MD 190/Cabin John Parkway

|-495 at I-270 West Spur

|-495 west of MD 187

|-495 at MD 187 (access to Medical Center Metro)

1-495 at I-270 East Spur

|-495 at MD 185 (access to Medical Center Metro & Kensington MARC)
|-495 at US 29 (access to Silver Spring Metro/MARC)

1-495 at MD 650

1-495 at 1-95

I-95/I-495 at US 1

|-95/l-495 at Cherrywood Lane (access to Greenbelt Metro/MARC)
|-95/I-495 at Baltimore-Washington Parkway

|-95/l-495 south of Baltimore-Washington Parkway

|-95/I-495 at US 50 (direct access to New Carrollton Metro/MARC/AMTRAK)
|-95/1-495 at MD 202 (north leg only) (access to Largo Town Center Metro)
1-95/1-495 at MD 214 (south leg only) (access to Largo Town Center Metro)
1-95/I-495 north of Ritchie Marlboro Road

|-95/l-495 at Ritchie Marlboro Road

|-95/I-495 at MD 4

|-95/I-495 at MD 5 (access to Branch Avenue Metro)

What is Congestion Pricing?

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m Per FHWA*, congestion pricing is a way of harnessing the power of the market to reduce the waste associated with traffic congestion.

= Congestion pricing enables the system to flow much more efficiently, allowing more vehicles and people to move through the same

physical space.

= Toll rates vary based on time of day or dynamically measured congestion to ensure a specified travel speed.

* https://ops.fhwa.dot.gov/congestionpricing/

How Does Dynamic Pricing Work?

Toll Rates are adjusted in response to real-time conditions, such as: travel speeds, traffic density, or traffic volumes.

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All projects in the Financially Constrained Long-Range
Transportation Plan (CLRP) including I-270 Innovative
Congestion Management (ICM) Improvements,

Purple Line, and increased trip capacity and frequency
along all MARC lines

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Alternatives Currently Under Consideration in the BEIS

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=a Br-lare Wt @)VA\\/F-lar-le(=e 0 -]a\- ela PAO)

Add two ETL managed lanes in each direction on
1-495 and add one ETL managed lane and retain one
HOV lane in each direction on 1-270

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Add two ETL managed lanes in each direction on I-495
and on I-270 and retain one existing HOV lane in each
direction on I-270 only

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Add two HOT managed lanes in each direction on
1-495 and convert existing HOV lanes to two HOT
managed reversible lanes on I-270 while maintaining
general purpose lanes

What are Managed Lanes?

= Highway facilities that use strategies, such as lane use restrictions or
congestion pricing, to optimize the number of vehicles that can travel the
highway to maintain free-flow speeds and person-throughput.

= Managed lanes may include high-occupancy vehicle (HOV) lanes, high-
occupancy toll (HOT) lanes, express toll lanes (ETLs), and bus-only lanes.

What are High-Occupancy Vehicle (HOV) Lanes?
= Separate and dedicated lanes for carpool vehicles.

= Lanes are not tolled.

What are High-Occupancy Toll (HOT) Lanes?

Dedicated managed lanes within highway rights-of-way that single-
occupancy vehicle (SOV) motorists may use by paying a variably priced toll
and HOV motorists may use by paying a discounted toll or no toll at all. Toll
payments may vary by time of day and level of congestion.

What are Express Toll Lanes (ETL)?

Dedicated managed lanes within highway rights-of-way that any motorist,
regardless of vehicle occupancy, may use by paying a variably priced toll,
depending on time of day and level of congestion.

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Add two HOT managed lanes in each direction on
1-495 and convert one existing HOV lane to a HOT
managed lane and add one HOT managed lane in each
direction on I-270

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WV Feat=ye(=e f W-lal-Ke)am (ooh (e/-Ke)m bt}

Add two HOT managed lanes in each direction on
1-495 between the study limits south of the George
Washington Memorial Parkway and the I-270 West
Spur, including the American Legion Bridge and on
1-495 between I-95 and the study limits west of

MD 5. Add one HOT managed lane in each direction
on I-495 between the I-270 West Spur and I-95. On
1-270, convert one existing HOV lane to HOT managed
lane and add one HOT managed lane in each direction.

1-495 from south of the ALB and I-270 west spur
and 1-495 from I-95 to west of MD 5

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1s (@)VA\Y/C-larcle(=reM -lal-nelan eral)

Add two ETL managed lanes in each direction on
1-495 and add two managed, reversible ETLs on
1-270 while retaining HOV lanes adjacent to general
purpose lanes

What Transit Components are Included in the Build Alternatives?

Opportunities to accommodate existing and planned multimodal mobility and connectivity are included with each Build Alternative, including:

= Free bus usage in the managed lanes to provide an increase in travel speed, assurance of a reliable trip, and connection to bus transit on arterials that
directly connect to activity and economic centers.

= Access (direct and/or indirect) to existing transit stations and planned Transit-Oriented Developments at the Shady Grove Metro (I-370), Twinbrook
Metro (Wootton Parkway), Montgomery Mall Transit Center (Westlake Terrace), Medical Center Metro (MD 187 and MD 185), Kensington MARC (MD
185), Silver Spring Metro and MARC (US 29), Greenbelt Metro and MARC (Cherrywood Lane), New Carrollton Metro, MARC, and Amtrak (US 50), Largo
Town Center Metro (MD 202 and MD 214) and Branch Avenue Metro (MD 5).

ATransit Work Group, with representatives from transit providers from Montgomery, Prince George's, Frederick, Anne Arundel, Charles, and Howard
counties and representatives from MDOT SHA, MDOT Maryland Transit Administration, FHWA, Federal Transit Administration, Metropolitan Washington
Council of Governments, and Washington Metropolitan Area Transit Authority, worked together to collaboratively identify opportunities to enhance
transit services on the proposed managed lanes and create an interconnected transit/highway system in the National Capital Region. The Transit Work
Group report was made available to the public in June 2020 on the P3 Program website.

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Case 8:

Comparison of the No Build and Build Alternati

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Avoidance and Minimization

Efforts

= 111 Section 4(f) properties were inventoried consisting of national parks,
county and local parks, parkways, stream valley units of larger park
facilities, local neighborhood parks, and historic sites that are listed in or
eligible for listing in, the National Register of Historic Places.

| rey LL Micra SLL I Weal oat Ia it a StL lols To the greatest extent practicable, efforts have been made to avoid and = 43 properties would be avoided and 68 would experience an impact as a
Es wl 2 = cud Wu Ee BS minimize impacts to parklands, wetlands, wetland buffers, waterways, result of the Build Alternatives.
te certonainyPaea sear and denier cere aieo tar ee inerion of = 22 properties would experience a use that warrants an Individual Section
to Section roperties 0 1417 1468 146.8 1447 149.0 145.5 146.7 the collector-distributor system on |-270, utilization of closed drainage A(f) Evaluation.
including park and historic systems, use of underground stormwater management instead of above- oo.
"| properties (acres) ground, use of reinforced steep slopes and/or retaining walls, minimization = FHWA intends to apply de minimis impact findings at 36 properties _
|) Number of Historic Properties of interchange footprints, and roadway alignment shifts in key locations. because many of the anticipated uses of Section 4(f) properties consist of
with Adverse Effect [Adverse 0 BUI Bil B17] BO Bil BU] BI] Further avoidance and minimization efforts will continue as design develops. minor impacts along the edge of the properties in question adjacent to
mercenaria the existing transportation facility.
: = The impacts to the 10 Section 4(f) properties meet the criteria of
100-Year Floodplain (acres) 0 1143 119.5 119.5 116.5 120.0 119.5 119.9 Pro pe rty Need S exceptions to a Section 4(f) use.
=i oe and Sensitive Areas 0 3053 408.2 408.2 4018 410.8 4067 408.6 A variety of elements contribute to the need for additional property rights
‘& (acres) , : : outside of MDOT SHA’s property, including roadway construction, grading,
5 Hresticanonetieras 0 1,433.8 1497.4 1,497.4 14772 15145 1,488.8 1,503.2 landscaping, stormwater management, and noise barriers. Adjacent property What Are the Results of the
= vy —_ _ _ _ “_ _ _— rights would be needed where MDOT SHA right-of-way is limited. A i i Q u al it An a | S i S >
2 Wetlands of Spedal State 0 0 0 0 0 0 0 0 MDOT SHA complies with State and Federal laws to determine “just” y y .
Concern compensation for impacts to your property. Just compensation is based on The Managed Lanes Study area is in attainment for carbon monoxide and
Wetlands Field-Reviewed (acres) 0 15.4 163 163 16.1 165 163 16.5 the fair market value of the property and includes all elements that may be particulate matter, meaning, the monitored air quality does not exceed the
: appropriate in determining value. National Ambient Air Quality Standard for those pollutants. The study area is
Pprop g y Pp y
Wetland 25-foot buffer (acres) 0 51.2 53.1 53.1 527 53.6 33.1 53.5 For full details on the acquisition process, please refer to the MDOT SHA Your inhon-attainment for ozone which meals the snonitored ak yyelity exceeds
Land and Your Highways: Your Rights and Benefits Guide the National Ambient Air Quality Standard for that pollutant; however, this
Waters of the US (linear feet) 0 153,702 155,922 155,922 155,229 156,984 155,822 156,632 . hiselew: foes Study is part of a transportation improvement program for which the total
l https://www.roads.maryland.gov/mdotsha/pages/index.aspx?pageid=41 | emissions from on-road travel are consistent with goals for air quality found
Tier II Catchments (acres) 0 55.2 553 55.3 553 553 55.3 55.3 in the State Implementation Plan.
s
. Quantitative analyses were completed for carbon monoxide, mobile source
Noise Receptors Impacted 0 3,661 4,470 4,470 4,249 4,581 4,411 4,461 S ect 10 n A(f ) air toxics (called M-SATs), and greenhouse gases, also known as G-H-G, per
il Section 4(f) of the US Department of Transportation (USDOT) Act of 1966 Federal Highway Administration and Environmental Protection Agency
i= | System-wide Delay Savings as amended (49 U.S.C. 303(c)) is a Federal law that protects significant guidance. Worst-case carbon monoxide concentrations were reported to
z 0 20%/22% 23%/33% 34%/33% 30%/30% 35%/34% 27%/22% 26%/34% ; p aC at
= vs. No Build (AM/PM) a “ol ol / /3 "2 6) publicly-owned parks, recreation areas, wildlife and/or waterfowl refuges, be below the National Ambient Air Quality Standards. M-SAT emissions
or any significant public or private historic sites. Section 4(f) applies to are expected to remain the same or decrease for the Build Altematives
Total Right-of-way Required 0 284.9 323.5 323.5 313.4 3373 318.9 329.3 all transportation projects that require funding or other approvals by the compared to the No Build Alternative. G-H-G emissions may increase slightly
(acres) USDOT. for the Build Alternatives compared to the No Build Alternative, but decrease
ies Di compared to existing conditions.
Humberot Properties Puce? 0 1,240 1,475 1475 1,392 1,518 1,447 1,479 - ,
Affected
Number of Residential
. 0 25 34 34 25 34 34 34 i - . - ceo
SZ Relocations Preliminary Noise Barrier Mitigation
oc «.
wo Number of Business 0 4 4 4 4 4 4 4 The assessment of noise abatement feasibility, in general, focuses on whether it is physically possible to build an abatement measure (i.e., noise barrier) that
2 Relocations achieves a minimally acceptable level of noise reduction. Barrier feasibility considers three primary factors: acoustics, safety and access, and site constraints. The
Width of Pavement on |-495 assessment of noise abatement reasonableness, in general, focuses on whether it is practical to build an abatement measure. Barrier reasonableness considers
(feet) Soe TMS Tes lS os Eas Gets ThE three primary factors: viewpoints, design goal, and cost effectiveness. These findings are based on preliminary design information and will be re-evaluated as part
Width of Pavement on 1-270 of final design phase. Engineering changes reflected in final design could alter these conclusions which could change MDOT SHA's recommendations. The views
(feet) 228-256 194-198 218-222 218-222 218-222 242-248 202-206 226-230 and opinions of all benefited property owners and residents will be solicited through public involvement activities during final design.
Capital Cost Range
(construction & i (billions) N/A $7.8- $8.5 $8.7—- $9.6 $8.7 = $9.6 $8.5- $9.4 $9.0 = $10.0 $8.7 - $9.6 $8.8 - $9.7 tele felis Rly] Dh ete rte Ced) fe@nitiiiaei UT ete Le ted jus

Existing Noise Barriers that would remain in place as currently constructed 7
NOTES: ' MDOT SHA and FHWA determined Alternative 5 is not a reasonable alternative because it does not meet the Study’s Purpose and Need, but it is included in the Existing Noise Barriers that would be relocated 42
DEIS for comparison purposes only. ie 7 7
? Based on current design information, effects cannot be fully determined on these seven historic properties. MDOT SHA will evaluate these properties further as design Existing Noise Barriers that would be reconstructed and extended 28
advances. New Noise Barriers constructed 23
* Preliminary impacts represented above assume total impacts; permanent and temporary impacts will be distinguished in the FEIS. Noise Barriers not proposed for construction 19*

* The right-of-way is based on State records research and filled in with county right-of-way, as necessary. With the Section 4(f) properties, some boundaries vary
based on the presence of easements and differences in the size and location of historic and park boundaries.

" Noise receptors are noise-sensitive land uses which include residences, schools, places of worship, and parks, among other uses. Note that these numbers include
receptors that do not have an existing noise wall as well as receptors that have an existing noise wall which is expected to be replaced.

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* An additional 19 barriers were evaluated but are not proposed for construction because they do not meet MDOT SHA‘ feasibility and/or reasonableness criteria.
Abatement for the portion of the study area within Virginia is being evaluated in coordination with VDOT and in compliance with the VDOT Highway Traffic Noise Impact Analysis Guidance Manual. The results of

this evaluation will be included in the FEIS

US. Department of Transportation
Federal Highway Administration

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Next Steps and NEPA Schedule an ocument Availability
= Evaluate and assess public, stakeholder, and agency comments received during the Joint Public Hearings and DEIS public comment period. The DEIS and JPA with supporting information are available online at 495-270-P3.com/DEIS. Hard copies are now available at the following
@ Identify Preferred Alternative and prepare Final Environmental Impact Statement (FEIS). locations:
m@ Address comments formally in the FEIS. MARYLAND STATE OFFICES: Viewing hours include Monday to Friday 11 AM to 7 PM, Saturday and Sunday 12 to 5 PM
@ Prepare Record of Decision (ROD). Montgomery County: MDOT SHA Gaithersburg Shop, 502 Quince Orchard Road, Gaithersburg, MD 20878 | MDTA MD 200 West Operations,

16902 Crabbs Branch Way, Rockville, MD 20855 | MDOT SHA Fairland Shop, 12020 Plum Orchard Road, Silver Spring, MD 20904 | MDOT SHA
Silver Spring Study Office, 8537 Georgia Avenue, Silver Spring, MD 20910

| Prince George's County: MDOT SHA District 3 Office, 9300 Kenilworth Avenue, Greenbelt, MD 20770
VIRGINIA STATE OFFICE: Viewing hours include Monday to Friday 9 AM to 4PM
Spring 2018 Fairfax County: VDOT Northern Virginia District Office, 4975 Alliance Drive, Fairfax, VA 22030

MARYLAND LIBRARIES: Hard copies are available in trailers in the library parking lots. Viewing hours include Tuesday and Thursday 11 AM
to 7 PM, and Sunday 12 to 5 PM. Once libraries are open to the public, the hard copies will be available for review in the libraries during normal
branch hours.

Montgomery County: Chevy Chase Library | Davis (North Bethesda) Library | Kensington Park Library | Potomac Library

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Prince George’s County: Glenarden Branch Library | Largo-Kettering Branch Library | New Carrollton Branch Library | Spauldings Branch
Summer 2018 Library

WASHINGTON DC LIBRARY: Viewing hours include Monday through Friday from 11 AM to 2 PM and 3 to 7 PM. Should library hours
change, the document will be available during normal branch hours.

Washington DC: Shepherd Park Neighborhood Library
US POST OFFICES: Viewing hours include Monday to Friday 9 AM to 5 PM, Saturday 9 AM to Varies (see below)

PVC Teeth eee Cie-Tiit-te mela Montgomery County: West Lake PO (Saturday closes at 1 PM), 10421 Motor City Drive, Bethesda, MD 20817 | Rockville PO (Saturday closes at
py -t eT 1 (=) Fall 2018 - 4 PM), 500 N Washington Street, Rockville, MD 20850
fs & Spring 2019 Prince George's County: Kenilworth PO (Saturday closes at 12 PM ), 6270 Kenilworth Ave, Riverdale, MD 20737 | Hampton Park PO (Saturday
closes at 4 PM), 9201 Edgeworth Drive, Capitol Heights, MD 20790 | Largo PO (Saturday closes at 3 PM), 9801 Apollo Drive, Upper Marlboro,
MD 20774 | Temple Hills PO , 4806 Saint Barnabas Rd, Temple Hills, MD 20748
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Pe I Joint Public Hearings for the DEIS and JPA
a ets dE) ~ WEARE | The DEIS and JPA with supporting information is available on the Program website. Hearing materials, including a presentation, informational displays,
Heliaial av le)l(emmlecisiaress | HERE Summer 2020 and brochure can be viewed starting July 31 at the document availability locations or on the Program website. At both the virtual and in-person
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‘ : ; The Maryland Relay Service can assist teletype users at 7-1-1. Persons requiring assistance to
gE) TUESDAY, AUGUST. 25,2020 (Oficial USACE Hering! participate, such as an interpreter for hearing/speech difficulties or assistance with the English
© THURSDAY, SEPTEMBER 3, 2020 language, should contact the Program toll-free number at 833-858-5960 by August 3, 2020.
Chinese: Vietnamese:
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In Person Hearings mis-nepa-p3@mdot.maryland.gov . i87£ — <tiéng Viet>,, xin vui long gti email
Two in-person hearings are planned from 12-9 PM: BT aS én: mls-nepa-p3@mdot. maryland gov. Xin vui
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erence Re wearin h ste) 3)} ca Spring 2021 Homewood Suites by Hilton, 9103 Basil Court, Largo, MD 20774 Aka AMLLA eae: Para ecb este boketn en, por favor enveunconeo
* THURSDAY, SEPTEMBER 10, 2020 —Montgomery County — Is-nepa-y dotmaryland.gov! MAhP MABete —— electidnicoa: eo eee tea Por favor
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Ways to Comment on the DEIS and JPA at the Hearings

Oral testimony to panelists at in-person or virtual hearing

Oral testimony to court reporter at in-person hearing

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Oral testimony via voicemail (855-432-1483) during
in-person or virtual hearing times

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Written comments in comment box at in-person hearing

Other Ways to Comment on the DEIS

Comment Form on 495-270-P3.com/DEIS/

Email at MLS-NEPA-P3@mdot.maryland.gov Comments must be

received by 11:59 PM
on October 8, 2020.*

*The public comment period may be extended
30 days. Please visit the Program website,
495-270-P3.com/DEIS, for updates.

Send a written letter about DEIS:

Lisa B. Choplin, DBIA

Director, I-495 & |-270 P3 Office
Maryland Department of Transportation
State Highway Administration

707 North Calvert Street, MS P-601
Baltimore, MD 21202

Other Ways to Comment on the JPA

The USACE and MDE are soliciting comments from the public; Federal, State, and local agencies and officials; Indian Tribes; and other interested parties in
order to consider and evaluate the impacts of this proposed activity. Any comments received will be considered by the USACE to determine whether to

issue, modify, condition or deny a permit for this proposal. To make this decision, comments are used to assess impacts on endangered species, essential fish
habitat, historic properties, tribal resources, modification of civil works projects, water quality, general environmental effects, and coastal zone management
programs. Comments are used in the preparation of an Environmental Impact Statement pursuant to the National Environmental Policy Act. Comments
provided will become part of the public record for this action and are subject to release to the public through the Freedom of Information Act. Comments are
also used to determine the overall public interest of the proposed activity.

For MDE, only those issues subject to regulation by the MDE Nontidal Wetlands and Waterway Construction Divisions (impacts to nontidal wetlands, wetland
buffer, and waterways, including the 100-year nontidal floodplain) will be considered in rendering a decision to grant or deny the MDE Permit. Future

public notices on the application will be included on the MDE website (mde.maryland.gov/programs/Water/WetlandsandWaterways/Pages/MLS_I-
495_|-270.aspx) and sent via certified mail to any newly identified adjacent property owners and sent via regular mail to the Interested Persons List. Please
refer to Subsection 5-907 of the Annotated Code of Maryland or the Code of Maryland Regulations 26.23.02 for information regarding the application process.

Written comments concerning the work described above related to the factors listed above or other pertinent factors must be received by the Corps,
Baltimore District and MDE within the comment period specified above through postal mail at the addresses below or electronic submission to the project
manager email address below. Comments should reference the USACE Application Number (NAB-2018-02152) and the MDE Tracking Numbers 20-NT-0114 /
202060649.

USACE

Baltimore District

Attn: Mr. Jack Dinne

2 Hopkins Plaza

Baltimore, Maryland 21201

410-962-6005 443-856-4760

johnj.dinne@usace.army.mil MDE.SHAprojects@maryland.gov
It is requested that you communicate this information concerning the proposed work to any persons known by you to be interested, who did not receive
a copy of this notice.

Maryland Department of the Environment
Wetlands and Waterways Program

Attn: Mr. Steve Hurt

1800 Washington Blvd., Suite 430

Baltimore, Maryland 21230-1708

General information regarding the Corps’ permitting process can be found on the following website: nab.usace.army.mil/Missions/Regulatory.aspx.
General information regarding the MDE Nontidal Wetlands and Waterways permitting process can be found online at the following web address:
mde.maryland.gov/programs/Water/WetlandsandWaterways/Pages/index.aspx. If you have any questions concerning this specific project, please
contact the individuals listed above.

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MEETING LOCATION:

IS YOUR COMMENT RELATED TO THE DEIS OR JPA?

[_] DRAFT Environmental Impact Statement (DEIS)/
Draft Section 4(f) Evaluation

[| Joint Permit Application for Wetlands and Waters

(PLEASE PRINT)

NAME: DATE:
EMAIL:

ADDRESS:

CITY: STATE: ZIP:

You may use this form or complete a comment form

at the Program website, 495-270-p3.com/DEIS/.
Comments may also be sent via email to
MLS-NEPA-P3@mdot.maryland.gov, or by mail to
Lisa B. Choplin, DBIA, Director, |-495 & |-270 P3 Office,
Maryland Department of Transportation State Highway
Administration, 707 North Calvert Street, Baltimore, MD 21202.
Comments must be received by 11:59 PM on
October 8, 2020. The public comment period may be
extended 30 days. Please visit the Program website,
495-270-P3.com/DEIS, for updates.

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MAILING LIST*: C1 Addmyname [1 Delete my name

“Individuals who have received a copy of the Joint Public Hearing
announcement through the mail are already on the Program mailing list.

[1 Check here if you prefer email communications only

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This questionnaire is for the purpose of evaluating
the effectiveness of the Joint Public Hearings.

1. The information presented was easy to understand?
Good Okay Poor

2. The presentation was informative and useful?
Good Okay Poor

3. The presenters responded well to my questions?
Good Okay Poor

4. Meeting information was in the language | requested?
Good Okay Poor

5. How can MDOT communicate more effectively?

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JOINT PUBLIC HEARINGS FOR THE
1-495 & Il-270 MANAGED LANES STUDY

Draft Environmental Impact Statement and Draft
Section 4(f) Evaluation and Joint Permit Application

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What Is the Purpose of the Joint Public Hearing?

Wi To provide the public an opportunity to comment on the following:

Draft Environmental Impact Statement (DEIS) and Draft Section 4(f)
Evaluation prepared by MDOT and FHWA in accordance with the
National Environmental Policy Act (NEPA), which documents the

proposed improvements and the associated environmental impacts for
the |-495 & I-270 Managed Lanes Study.

Alterations of nontidal wetlands, wetland buffers, waterways, and
floodplains associated with the proposed improvements, as presented
in the Joint Federal/State Application (JPA) for the Alteration of Any
Floodplain, Waterway, Tidal or Nontidal Wetland in Maryland, being
evaluated by the US Army Corps of Engineers (USACE)-Baltimore
District and the Maryland Department of the Environment (MDE).

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What Is the NEPA Process?

The National Environmental Policy Act (NEPA) of 1969 requires Federal
agencies to evaluate the environmental effects of their proposed actions.

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I-495 o I-270 P3 ao ms PRESET
PROGRAM ELEMENTS \ i

The 1-495 & I-270 P3 Program includes more
than 70 miles of highway improvements.

qm = |-495 & |-270 Managed Lanes Study
= © 1-270 from |-370 to I-70 Pre-NEPA Activities

que = |-495 from MD5 to Woodrow Wilson Bridge

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The Managed Lanes Study covers 48 miles cut) paome EES
of those improvements, and begins south OP

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of the George Washington Memorial aos AS ,
Parkway on 1-495 tn Virginia, including eo See f
the American Legion Bridge, and extends I—G ee y
to west of MD 5 and along I-270 from the | Se
Capital Beltway to north of I-370. yo

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Why Is This Study Needed?
Mi To Address Existing and Future Traffic Congestion

" Traffic congestion limits economic growth opportunities
" Traffic congestion diminishes the quality of life for Marylanders

™ Severe congestion averages 10 hours on I-495 and 7 hours
on |-270 each weekday

2040 2040299,000.

2025 2025 272,900 ,
2018 E 2018259, 000g

average annual daily traffic (AADT)

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What Is the Study’s Purpose & Need?

Develop a travel demand management solution(s) that addresses congestion,
improves trip reliability on I-495 and I-270 within the study limits and enhances

existing and planned multimodal mobility and connectivity.

BM Accommodate Existing Traffic and Long-Term Traffic Growth
M@ Enhance Trip Reliability
M@ Provide Additional Roadway Travel Choices

li Accommodate Homeland Security
Mi Improve Movement of Goods and Services

W®@ Financial Viability
M@ Environmental Responsibility

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How Has the COVID-19 Pandemic Impacted the Study?

=» MDOT's number one priority is the health and safety of Marylanders.

=» MDOT SHA recognizes the impact of the COVID-19 stay-at-home order on current transportation
patterns throughout the National Capital Region, including how we work, travel, and spend our free
time. We are aware of the reduced traffic on interstates such as I-495 and I-270.

= We are continuing to ensure transportation improvements are being developed to meet our State's
needs for today and in the future.

MDOT SHA acknowledges the uncertainty surrounding present traffic levels and transit use.

MDOT SHA is committed to tracking trends in travel behavior and monitoring traffic volumes over
time as communities reopen, including businesses, places of worship, and schools.

a We will evaluate and consider all new information as it becomes available to ensure the solutions will
meet the needs of Marylanders now and in the future.

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What Are Managed Lanes?

= Highway facilities that use strategies, such as lane-use RA
restrictions or congestion pricing, to optimize the number |
of vehicles that can travel the highway to maintain free-
flow speeds and keep people moving.

What Are HOV Lanes?

m Separate and dedicated lanes for carpool vehicles.
= Lanes are not tolled.

What Are HOT Lanes?

= Dedicated managed lanes within highway right-of-way
that single-occupancy vehicle (SOV) motorists may use by
paying a variably priced toll. High-Occupancy Vehicle (HOV)-eligible vehicles may use HOT lanes without paying a toll.

= Toll payments may vary by time of day and level of congestion.

What Are Express Toll Lanes (ETLs)?

= Dedicated managed lanes within highway right-of-way that any motorist, regardless of vehicle occupancy, may use
by paying a variably priced toll, depending on time of day and level of congestion.

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What Alternatives Are Considered in the DEIS?

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Add two HOT managed lanes in each direction on I-495 and convert one

existing HOV lane to a HOT managed lane and add one HOT managed nO) i NW ETareve[=re. II a\oe)e i Ceye) le (s oi fe bee)
Add two ETL managed lanes in each direction on I-495 and add one ETL lane in each direction on I-270.
managed lane and retain one HOV lane in each direction on I-270. Add two HOT managed lanes in each sii dein tices
direction on 1-495 between the study limits #0408 Tom 99 fo wast oF MD
south of the George Washington Memorial Fs ih
Parkway and the I-270 West Spur, including
the American Legion Bridge (ALB) and on
1-495 between I-95 and the study limits
i 7. %: y, , yy - west of MD 5. Add one HOT managed lane @
SSS ee ee a eae ea in each direction on 1-495 between the
I-270 West Spur and I-95. On 1-270, convert
eo eae ra es A ig Soe P : one existing HOV lane to a HOT managed @
5 a — = : — 7 ay at a i P af SS lane and add one HOT managed lane in
ae Fae a Se psa a ee as aes ss | eT : each direction.

All projects in the Financially Constrained Long Range Transportation
Plan (CLRP) including I-270 Innovative Congestion Management (ICM)
Improvements, Purple Line, Corridor City Transitway Bus Rapid Transit,
and increased trip capacity and frequency along all MARC lines.

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Add two ETL managed lanes in each direction on I-495 and on I-270 and Add two HOT managed lanes in each direction on 1-495 and convert existing Add two ETL managed lanes in each direction on 1-495 and add two managed, reversible ETLs on I-270 while retaining
retain one existing HOV lane in each direction on 1-270 only. HOV lanes to two HOT managed reversible lanes on I-270 while maintaining HOV lanes adjacent to General Purpose lanes.
General Purpose lanes.

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What Transit Elements Are in the Build Alternatives?

m Free bus usage in the managed lanes to provide an increase in
travel soeed, assurance of a reliable trip, and connection to
bus transit on arterials that directly connect to activity and

economic centers.

m Access (direct and/or indirect) to existing transit stations and planned
Transit-Oriented Developments will be included at the following:

Shady Grove Metro (I-370)

Twinbrook Metro
(Wootton Parkway)

Montgomery Mall Transit Center
(Westlake Terrace)

Medical Center Metro
(MD 187 and MD 185)

Kensington MARC
(MD 185)

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Silver Spring Metro and MARC
(US 29)

Greenbelt Metro and MARC
(Cherrywood Lane)

New Carrollton Metro, MARC,
and Amtrak (US 50)

Largo Town Center Metro (MD — — ——
202 and MD 214)

Branch Avenue Metro (MD 5)

What Other Transit Initiatives Are Being Considered?

= A Transit Work Group, with representatives from transit providers from Montgomery, Prince George's, Frederick, Anne
Arundel, Charles, and Howard counties and representatives from MDOT SHA, MDOT Maryland Transit Administration,
FHWA, Federal Transit Administration, Metropolitan Washington Council of Governments, and Washington
Metropolitan Area Transit Authority, works together to collaboratively identify opportunities to enhance transit services
on the proposed managed lanes and create an interconnected transit/highway system in the National Capital Region.

= The Transit Work Group report is available on the P3 Program website.

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What Pedestrian/Bicycle Considerations Are in Build Alternatives?

= Existing sidewalks, shared-use paths, bikeable shoulders, and bikeways impacted by
proposed improvements will be replaced and upgraded.

= The new American Legion Bridge will include new pedestrian and bicycle access to connect
with existing trails on both sides of the Potomac River.

= New pedestrian and bicycle facilities to enhance connectivity and provide safe
accommodation are being evaluated along the corridor in collaboration with
local stakeholders.

American Legion Bridge

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Possible location for ped/bike trail on American Legion Bridge

Managed lanes would be either HOT or
ETLs depending on the alternative chosen

Shared-use path location to be determined

View of ALB from Virginia, looking north towards Maryland

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Proposed Managed Lanes Access Locations
1-270 at 1-370 (access to Shady Grove Metro)
1-270 at Gude Drive

1-270 at Wootton Parkway (access to Twinbrook Metro)
1-270 at Westlake Terrace (access to Montgomery Mall Transit Center)

1-270 east of MD 187

1-495 at George Washington Parkway

1-495 north of Clara Barton Parkway

1-495 at MD 190/Cabin John Parkway

1-495 at |-270 West Spur

1-495 west of MD 187

1-495 at MD 187 (access to Medical Center Metro)

1-495 at 1-270 East Spur
1-495 at MD 185 (access to Medical Center Metro & Kensington MARC)

1-495 at US 29 (access to Silver Spring Metro/MARC}
1-495 at MD 650
1-495 at I-95

1-95/1-495 at US |
1-95/I-495 at Cherrywood Lane (access to Greenbelt Metro/MARC)

1-95/I-495 at Baltimore-Washington Parkway

1-95/1-495 south of Baltimore-Washington Parkway

|-95/1-495 at US 50 (direct access to New Carrollton Metro/MARC/AMTRAK)
1-95/1-495 at MD 202 (north leg only) (access to Largo Town Center Metro)
1-95/1-495 at MD 214 (south leg only) (access to Largo Town Center Metro)
1-95/I-495 north of Ritchie Marlboro Road

1-95/1-495 at Ritchie Marlboro Road

1-95/I-495 at MD 4

@) 1-95/1-495 at MD 5 (access to Branch Avenue Metro)

Legend
U p p er @ Direct Access Locations

M a r| b oro © At-Grade Access Locations

a w Managed Lane Access to Transit Station

= Rockville

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S Arlington

The proposed managed lanes access points are based
on preliminary traffic and revenue analyses and may
change as more detailed analyses are completed.

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What Is Congestion Pricing?

m Per FHWA, congestion pricing is a way of harnessing the power of
the market to reduce the waste associated with traffic congestion.

= Congestion pricing enables the system to flow much more

efficiently, allowing more vehicles and people to move through the
same physical space.

= Toll rates vary based on predicted (time of day) or dynamically
measured congestion to ensure a specified travel speed.

How Does Dynamic Pricing Work?

= Maryland Transportation Authority (MDTA) Board will establish a

public hearing process with a public review for the toll rate range for Merce ol
the facility. SS

= Toll Rates are adjusted in response to real-time conditions, such as:

Travel speeds
Traffic density

Traffic volumes

* https://ops.fhwa.dot.gov/congestionpricing/ fe

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How Will the Managed Toll Lanes Work?

M The tolls would be collected electronically at highway speeds, with no toll plazas or toll booths.

M Toll rates would be adjusted dynamically within the approved toll rate range and could change in response to real-time changes in
traffic conditions every 5 to 15 minutes to manage traffic flow and maintain a minimum average operating speed of 45 mph.

How Will the Toll Rates Be Set?

M Toll rate ranges will be set as required by the Code of Maryland Regulations (COMAR 11.07.05, Public Notice of Toll Schedule Revisions).

Toll rates will be developed to manage traffic flow. Toll range will include upper limit on toll rate per mile.
Public will have minimum 60-day comment period, anticipated Public hearings for the toll rate range will be held in each county
for 2021. in which a toll is proposed to be implemented.

What Will the Toll Rates Be?

DEIS does not recommend final proposed toll rate ranges; however, potential toll rates were estimated to meet the goals of the project
and to determine if the Build Alternatives would be financially viable.

M@ For planning purposes only, the estimated opening year (2025) average weekday toll rates per mile (in 2020 $) for all time periods for
passenger cars using an E-ZPass transponder were:

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8 $0.70/mile
9 $0.69/mile
9M $0.77/mile
10 $0.68/mile
13B $0.73/mile
13C $0.71/mile

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How Much Would the Alternatives Reduce Congestion and Delay?

M@ Average delay per vehicle quantifies the amount of time ™@ Byserving more traffic on |-495 and I-270,
motorists are delayed in traffic congestion on the highways each of the Build Alternatives are projected
within the study area. to reduce demand on the surrounding local

roadway system, resulting in delay savings for
local travelers, as shown below.

@ All Build Alternatives are projected to reduce delay by 20% or
more compared to the No Build condition, as shown below.

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PN iil gatewa yee
als ei eh Alternative 1 (No Build)
Alternative 1 (No Build) Atemmative S 6.6%
Alternative 8 23% 33%
Alternative 9 7.0%
Alternative 9 34% 33%
Alternative 9M 5.9%
Alternative 9M 30% 30%
. Alternative 10 6.5%
Alternative 10 35% 34%
Alternative 13B 27% 22% phemiatwe 138 =
Alternative 13C 26% 34% Alternative 13C 6.4%
*Source: VISSIM Simulation Model. Values reflect delay in all lanes (GP & HOT/ETL) in the year *Source: MWCOG Regional Forecasting Model
2040, and also include interchange ramps and junctions.
Legend Legend
> 30% decrease in average delay 20% - 25% decrease in average delay fg No benefit vs. No Build
25% - 30% decrease in average delay I) < 20% decrease in average delay < 5% reduction in daily delay on local roadway network

> 5% reduction in daily delay on local roadway network al

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How Will Traffic Operations Move People Through the Study Corridors?

@ “Person-throughput” quantifies the 1 Tt-W lah xqvele)(-B a ley'i-ye
efficiency of the roadway network in oY Tol (eM =101| eR @olalsliate
getting people to their destinations. 7 BEE oer
_ Equals the number of people that pass =) = s | 65% | 110%
by a given point on the roadway in a 8 | 20% | 5% sa apie gga, | MARYLAND
. 2 15% 20% S : }
set amount of time. Sul ase ONS 10 | 70% | 100%
{ 10 | 30% | 30% EN Shee
Accounts for high-occupancy vehicles ‘ise oe ee | 13c | 65% | 95% . ramen
and buses. we ee as P 3 a 50%
. | _ 200 a e
" Higher numbers are better. See . (Ns su aoe none
M Benefits of high “person-throughput” on 8 | 35% | 30% oe | asm ast
the highway: om} oe | 00 re 13¢ | 50% | 50%
™ More efficient use of the roadway. mee YO yi coe
‘Reduced peak spreading (i.e. less 88 ook ere SS @ ete
congestion in the off-peak hours). _& a VO Bom [15% | 20%
. J 29 re , (| J 10 | 15% 20%
Reduced burden on the surrounding p Lf 138 | 20% | 20%
~IO 13C | 25% 20%

(less cut-through traffic). Legend

XX%_ Highest increase in “person-throughput” per location

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How Will the Build Alternatives Improve Travel Time?
HOT/ETLs would offer RELIABLE free-flow travel at or above 45 mph.

M@ Average travel speeds (mph) and travel time (minutes) in the
general purpose (GP) lanes for each Alternative are shown

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NTA Teme Wea Ss NTT MSN Tale acim Gel TUNA for four common weekday commute trip pairs in 2040. eco Wea PNMavere) este ial ecm oni un a

Marlies Teal eM Nine Canllay) . Nila ess NeW ie MO lnnem tain) : -
cs tu ls wae Data for managed lanes (HOT/ETL) are common to all Build tule all Jus we
No Bui 14 43 Aleernatiges. No Bui 37 27
Alt 8 (GP) 40 15 28 7,280 120 _ . Alt 8 (GP) 56 18 9 2,340 40
m9 @ > % 7 “0 M Annual savings per commuter quantifies the time savings per a9 @ = = con
tl . wo . t
person compared to the No Build condition, assuming 260
Alt 9M (GP) 36 17 26 6,760 115 commuting days ina year. Alt 9M (GP) 56 17 10 2,600 45
Alt 10 (GP) 45 3 30 7,800 130 Alt 10 (GP) 56 7 10 2,600 45
Alt 13B (GP) 29 21 22 5,720 95 Alt 13B (GP) 56 7 10 2,600 45
Alt 13¢ (GP) 34 18 25 6,500 110 TS Alt 13C (GP) 56 7 10 2,600 45
HOT/ETL (Alll Alts) 60 10 33 8,580 145 \ ‘ray ay

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EyAy wf of HOT/ETL (All Alts) 60 15 12 3,120 50

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No Build 24 32 No Build 27 28
Alt 8 (GP) 23 33 - Alt 8 (GP) 48 15 13 3,380 55
Alt 9 (GP) 33 23 9 2,340 40 Alt 9 (GP) 49 15 13 3,380 55
Alt 9M (GP) 30 25 7 1,820 30 Alt 9M (GP) 49 15 13 3,380 55
Alt 10 (GP) 37 21 11 2,860 50 Alt 10 (GP) 37 20 8 2,080 35
Alt 13B (GP) 42 18 14 3,640 60 Alt 13B (GP) 48 15 13 3,380 55
Alt 13C (GP) 40 19 13 3,380 55 or Alt 13C (GP) 40 19 9 2,340 40
HOT/ETL (All Alts) 52 15 17 4,420 75 = — . f Voy HOT/ETL (Alll Alts) 53 14 14 3,640 60

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What Environmental Resources Were Analyzed?
The DEIS and Supporting Technical Reports

The DEIS presents the environmental resources identified along the study corridors, the anticipated effects to the
resources, and measures to avoid, minimize, and mitigate unavoidable effects to those resources. The environmental
resources and topics analyzed included:

Land Use and Zoning Watersheds and Surface Water Quality
Demographics Groundwater Hydrology

Communities and Community Facilities Floodplains

Parks and Recreational Facilities Vegetation and Terrestrial Habitat
Property Acquisitions and Relocations Terrestrial Wildlife

Visual and Aesthetic Resources Aquatic Biota

Historic Architecture and Archaeological Rare, Threatened and Endangered Species
ReSOUrEeS Unique and Sensitive Areas

Air Quality Environmental Justice

Noise

Indirect and Cumulative Effects

Hazardous Materials
Consequences of Construction

Topography, Geology and Soils

Waters of the US and Waters of the State,
including Wetlands

Commitment of Resources

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COMPARISON OF THE NO BUILD
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Total Potential Impacts
SecA UC PrApeEIES 0 141.7 146.8 146.8 144.7 149.0 145.5 146.7
including park and historic
properties (acres)
Number of Historic Properties
with Adverse Effect [Adverse 0 13 [7] 13 [7] 13 [7] 13 [7] 13 [7] 13 [7] 13 [7]
effect cannot be determined’]
100-Year Floodplains (acres) 0 114.3 119.5 119.5 116.5 120.0 119.5 119.9
Unique and Sensitive Areas 0 395.3 408.2 408.2 401.8 410.8 406.7 408.6
(acres)
Forest canopy (acres) 0 1,433.8 1,497.4 1,497.4 1,477.2 1,514.5 1,488.8 1,503.2
Wetlands of Special State 0 0 0 0 0 0 0 0
Concern
Wetlands Field-Reviewed (acres) 0 15.4 16.3 16.3 16.1 16.5 16.3 16.5
Wetland 25-foot buffer (acres) 0 51.2 53.1 53.1 52.7 53.6 53.1 53.5
Waters of the US (linear feet) 0 153,702 155,922 155,922 155,229 156,984 155,822 156,632
Tier || Catchments (acres) 0 55.2 55.3 55.3 55.3 55.3 55.3 55.3
Noise Receptors Impacted 0 3,661 4,470 4,470 4,249 4,581 4,411 4,461
= | System-wide Delay Savi
ue stem wee sclay 2avings 0 20%/22% | 23%/33% |  34%/33% 30%/30% 35%/34% 27%/22% 26%/34%
cc | vs. No Build (AM/PM)
Teel Right-of-Way Raq ulheG 0 284.9 323.5 323.5 313.4 337.3 318.9 329.3
(acres)
Number cr Propaetis Directly 0 1,240 1,475 1,475 1,392 1,518 1,447 1,479
Affected
Number of Residential 0 25 34 34 25 34 34 34
2 Relocations
=
ui Number of Business
S | Relocations 0 : 4 4 4 4 4 4
=
eat) of Favementon [495 138-146 170-174 194-198 194-198 170-198 194-198 194-198 194-198
eat) olFavement on h22 228-256 194-198 218-222 218-222 218-222 242-248 202-206 226-230
Capital Cost Range N/A $7.8-§85 | $87-$9.6 | §87-$96 | $85-594 | $9.0-$100 | $87-$9.6 $8.8-$9.7
[Construction & ROW] (billions)

NOTES: ' MDOT SHA and FHWA determined Alternative 5 is not a reasonable alternative because it does not meet the Study’s Purpose and Need, but it is
included in the DEIS for comparison purposes only.

* Based on current design information, effects cannot be fully determined on these 7 historic properties. MDOT SHA will evaluate these properties further
as design advances.

- Preliminary impacts represented above assume total impacts; permanent and temporary impacts will be distinguished in the FEIS.

- The right-of-way is based on State records research and filled in with county right-of-way, as necessary. With the Section 4(f) properties, some boundaries vary
based on the presence of easements and differences in the size and location of historic and park boundaries.

- Noise receptors are noise-sensitive land uses which include residences, schools, places of worship, and parks, among other uses. Note that these numbers include
receptors that do not have an existing noise wall as well as receptors that have an existing noise wall which is expected to be replaced.

- Efforts to avoid and minimize impacts have occurred throughout the planning process and will continue during the final design phase.

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What Avoidance and Minimization Opportunities Have Been
Considered for Effects to Environmental Resources?

@ At this stage in the NEPA Study, opportunities to avoid and
minimize impacts to the following resources have been
coordinated with the regulatory and resource agencies and have
been incorporated into the Build Alternatives:

parklands waterways
forests

FEMA 100-year floodplains

wetlands
wetland buffers

= Impacts were avoided or minimized to the greatest
extent practicable at this stage of the Study, and
avoidance and minimization techniques were further
advanced in some areas of sensitive or recreationally
valuable resources.

= The effort to avoid, minimize and mitigate
unavoidable impacts will continue through
ongoing and future coordination with the
applicable regulatory and resource agencies
and be documented in the FEIS.

Initial LOD M88 Current LOD

Examples of Results of Minimization Efforts

e Rock Creek: reduction in parkland impacts of
approximately 10 acres and reduction in stream impacts
by 3,287 linear feet

¢ Thomas Branch: reduction in stream impacts by
592 linear feet

e Paint Branch Mainstem: reduction in stream impacts by
2,393 linear feet

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What Are the Results of the Air Quality Analysis?

WM Study area is in attainment (meaning, the area has monitored air quality that meets the
National Ambient Air Quality Standard) for Carbon Monoxide (CO) and Particulate Matter
and non-attainment for 2015 Ozone standard.

WM The Study is currently included in the National Capital Region Transportation Planning
Board FY 2019 — 2024 Transportation improvement program (TIP) and the Visualize 2045
Long Range Plan (LRTP) and the accompanying Air Quality Conformity Analysis.

WM The estimated emissions from on road travel in the TIP and LRTP adhere to the motor
vehicle emissions budgets for ozone pollutants and therefore demonstrate conformity with
the State Implementation Plan.

WM Quantitative CO, Mobile Source Air Toxics (MSATs) and greenhouse gas (GHG)
analysis completed.

Worst-case CO concentrations for all Build Alternatives remain well below the CO National Ambient Air
Quality Standards (NAAQS) at all receptor locations for each interchange and intersection
location analyzed.

MSATs emissions expected to remain the same or slightly decrease for all Build Alternatives when

compared to the No Build condition for 2040.
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GHG emissions expected to increase slightly for all Build Alternatives when compared
to the No Build condition for 2040, but decrease compared to existing conditions.

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What Are the Section 4(f) Regulations?

mM Section 4(f) of the US Department of Transportation (USDOT) Act of 1966, as amended (49 U.S.C. 303(c)) is a
Federal law that protects publicly owned parks, recreation areas, wildlife and/or waterfowl refuges, or any
public or private historic sites.

M Section 4(f) applies to all transportation projects that require funding or other approvals by the USDOT.

M@ Considerable efforts to avoid and minimize impacts to Section 4(f) properties have taken place throughout
the planning process and will continue. However, all of the Build Alternatives would impact parks and historic
sites along the study corridors.

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e When land is permanently incorporated into a transportation facility.

includes all possible planning to minimize harm to the property resulting from Statue’s preservation purpose as determined by the criteria in 23 CFR 774.13(d);
such use (23 CFR 774.3(a)); or that is when one of the following criteria are not met.

° The use of Section 4(f) property, including any measures to minimize harm (i.e., e When there is a constructive use, which occurs only when a project does not
avoidance, minimization, mitigation, or enhancement measures) committed to by incorporate land from a Section 4(f) property, and the proximity impacts of a
the applicant, will have a de minimis impact on the property (23 CFR 774.3(b). project on adjacent or nearby property result in substantial impairment of the

activities, features, or attributes that qualify a property for Section 4(f) protection.

USDA BARC Greenbelt Park

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Inventory of Section 4(f) Properties

111 Section 4(f) properties were inventoried within the corridor study boundary, including national parks, county and local parks, parkways, stream valley
units of larger park facilities, and historic sites that are listed in or eligible for listing in the National Register of Historic Places.

M 43 properties would be avoided by the Build Alternatives

M 68 properties would experience an impact from the Build Alternatives

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22 of the 68 properties would experience an
impact qualifying as a Section 4(f) use resulting
in an individual evaluation.

e Considers if there is a feasible and prudent
alternative that completely avoids the use of
all Section 4(f) properties

e Includes all possible planning to minimize harm
to Section 4(f) properties

e Includes extensive agency coordination and
public involvement

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36 of the 68 properties would experience an impact so minor as to not adversely affect the
activities, features, or attributes that qualify the property for protection under Section 4(f).

e De minimis impact determination does not require analysis to determine if avoidance
alternatives are feasible and prudent, but consideration of avoidance, minimization, mitigation
or enhancement measures should occur

The process to determine a de minimis impact is different for historic sites and parks.

e There are 13 historic sites that would experience a de minimis impact, including 4 properties
that contribute to significance of an historic district. The State Historic Preservation Officer
has concurred that the Study would have no adverse effect on each of these properties and
provided written acknowledgment of FHWA’s intent to make a de minimis impact determination
(in compliance with 23 CFR 774.5 (b)(1)).

e There are 27 publicly owned park properties that would experience a de minimis impact. FHWA
intends to make a de minimis impact determination if the Officials with Jurisdiction over these
parks concur that the Study, after measures to mitigate harm are employed, would not adversely
affect the activities, features, or attributes that qualify the property for protection under Section
4(f); and in consideration of public comments in compliance with 23 CFR 774.5(b)(2)).

What Are the Results of the Draft Section 4(f) Evaluation?

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10 of the 68 properties,
including 6 archaeological
sites, would experience an
impact from the Study but
those impacts meet one or
more exception to Section 4(f)
use criteria (23 CFR 774.13).

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POTENTIAL MITIGATION

= Publicly Owned Parks: Discussions with Officials with
Jurisdiction over publicly owned park resources are
ongoing to determine meaningful mitigation for
impacts. Possible mitigation may include:

Replacement with lands of at least comparable value,
and of reasonably equivalent usefulness and location.

Replacement of facilities impacted by the proposed
improvements, including sidewalks, paths, benches,
lights, trees, fields, courts, stormwater facilities, parking
lots, trails, swales, buildings, and other facilities.

Relocation of recreational facilities outside of
environmentally compromised areas (i.e., floodplains).

Restoration and landscaping of disturbed areas.

@ Historic Sites: Discussions with Section 106 Consulting
Parties is ongoing. All mitigation for impacts to
historic properties will be covered in a Section 106
Programmatic Agreement.

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What Does the Section 106
Process Include?

m Section 106 of the National Historic Preservation
Act requires consideration of historic properties
(including archaeology and historic architecture)
in Federal projects, and avoiding, minimizing,
or providing mitigation for adversely affected
resources.

™ Historic properties are those generally more
than 50 years of age and that meet the National
Register of Historic Places Eligibility Criteria.

Washington Coca-Cola Building Bottling Plant (Silver Spring)

View of Edwards Lane (Town of Glenarden)

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What Are the Results of the
Draft Section 106 Evaluation?

= MDOT SHA has evaluated more than 300
properties within the study corridor (see http://
bit.ly/495-270-DOE). Thirteen properties may
experience adverse effects and several properties
require additional evaluation to assess effects as
the design is developed further.

BM Section 106 consultation is ongoing and will be
completed via a Programmatic Agreement with
consulting parties that stipulates mitigation and
additional evaluation and treatment of historic
properties.

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What Is Title VI? Why Is Title VI Important?

Title VI, 42 U.S.C.,* Section 2000d et seq., was enacted mM Title VI ensures that public services, including

as part of the Civil Rights Act of 1964. Title Vl-related transportation, are provided in an equitable and
statutes and regulations provide that no person shall nondiscriminatory manner.

on the ground of race, color, national origin, sex,
English proficiency, or disabilities be excluded from
participation in, be denied the benefits of, or be
subjected to discrimination under any program

or activity.

H Title VI provides opportunities for public
participation in decision-making without regard to
race, color, or national origin, including populations
with Limited English Proficiency (LEP).

Filing a Complaint / Seeking Assistance

Should you need LEP assistance or if you believe MDOT SHA is not meeting the expectations of Title VI, you
may direct questions, concerns, or Tile a complaint with:

Shabnam Izadi, Title VI Manager
MDOT State Highway Administration
Office of Equal Opportunity

211 E. Madison Street, MS-LL3
Baltimore, MD 21201

Email | sizadi@mdot.maryland.gov
Phone | 410-545-0377

Fax | 410-208-5008

Please Fill Out a Survey. MDOT SHA strives to involve all groups relevant to its Study in its public involvement
activites. Please fill out a Demographic Information Survey to assist MDOT SHA in planning outreach to
communities during the course of the Study.

*United States Code

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What Is Environmental Justice?

M@ Environmental Justice (EJ) means identifying and addressing
disproportionately high and adverse effects of an action on minority
(race or ethnicity) and/or low-income populations to achieve an
equitable distribution of benefits and burdens.

M® An EJ population is any readily identifiable group of minority (race or
ethnicity) persons and/or low-income persons who live in geographic
proximity and who will be similarly affected by a proposed project.

What Are the Effects to EJ
Populations?

M Of the 199 Census block groups located along the study corridor,
111 are considered EJ populations.

M Effects to properties, noise, community facilities, parks, cultural
resources, and natural resources within EJ populations would
occur from the Build Alternatives.

®@ A final determination of whether disproportionately high and
adverse effects would occur from the Preferred Alternative to EJ
populations will be made in the FEIS. If disoroportionately high
and adverse effects are determined, MDOT SHA will evaluate
options to avoid the adverse effects.

M lf adverse impacts are unavoidable, mitigation and enhancement
measures will be determined in close coordination with
local communities.

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Legend

=| Minority Populations
I | Low-Income Popluations

|_| Both Minority & Low Income Populations

Virginia

DEIS Ch. 4 & Appendix E

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What determines if my property is needed?

m A variety of elements contribute to the need
for additional property rights outside of MDOT
SHA‘s property. These elements include roadway
construction, grading, clearing, landscaping,
stormwater management, and noise barrier
replacement/construction. Adjacent property rights
would be needed in areas where MDOT SHA right-
of-way is limited and where these elements cannot
be located elsewhere.

What are my rights related to property

acquisition?

®@ MDOT SHA complies with State and Federal laws to
determine “just” compensation for impacts to

your property.

mM Just compensation is based on the 4 or
fair market value of the property SHR
and includes all elements that Your wane
may be appropriate in soararel aie

determining value.

M For full details on the acquisition
process, please refer to the MDOT
SHA Your Land and Your Highways:

Your Rights and Benefits Guide

Your Rights and Benefits Guide.

https:/Awww.roads.maryland.gov/mdotsha/pages/index.aspx?pageid=411

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DEIS Ch. 4 & Appendix E

PROPERTY NEEDS

How will | know that my property is needed?

@ MDOT SHA will advise you well in advance of
actual negotiations. A letter will be mailed to you
explaining that your property will be needed.

What will | be paid for my property if it is
needed?

®@ MDOT SHA will offer fair market value of your
property, which will include just compensation
for the property needed. Relocation assistance Is a
separate benefit that is provided, if eligible.

Will | be compensated for indirect impacts,
such as noise?

™ MDOT SHA can only provide compensation as part
of the property acquisition process. However, we
will work with you to address concerns related
to any possible impacts on your property. See
information on noise in STATION 6.

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REDUCTION OF POTENTIAL PROPERTY NEEDS

Have property needs been reduced?

= MDOT SHA has attempted to stay within
existing ROW to the extent possible to avoid
and/or minimize potential property needs.

mM Design and engineering options were
analyzed to reduce the potential impacts by
reducing grass and grading areas, adding
retaining walls, modifying interchange ramp
designs, adjusting direct access locations,
shifting the centerline alignment, and locating
stormwater facilities underground.

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Are there opportunities to further reduce
property needs?

= MDOT SHA has identified reasonable
measures to reduce potential property needs
as part of the preliminary design for NEPA.
As this process moves forward, MDOT SHA
is committed to identifying approaches that
could further reduce potential property needs
or mitigate any impacts to property.

= More importantly, MDOT SHA will engage
and incentivize the private sector through
innovation to reduce property needs.

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What Happens If My Property Is Directly Impacted?

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FALL 2020 TO
WINTER 2021
Further avoidance SPRING 2021
& minimization to Complete National
reduce needs will eC ronniantal
be evaluated and a OS ea IDENTIFICATION
rioritized includinc Policy Act (NEPA)
Puree a Study During final design, MDOT SHA

incentivizing the
private sector
through innovation

PRE-ACQUISITION

MDOT SHA determines the property
rights that may be needed for the new
improvement and the impacts on your

remaining property

https:/\www..roads.maryland.gov/ORE/highway_brochure_2019.pdf

determines If property is
needed to construct the project
(No earlier than late 2021)

2

APPRAISAL

A qualified real estate appraiser will
appraise your property and MDOT
SHA will set the just compensation

to be offered

2

FORMAL NOTIFICATION

Property owner will receive a
notification letter

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NEGOTIATIONS

A real property specialist
will contact you to set up an
appointment to discuss the
acquisition and the offer

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